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   WKH/DERU0DUNHW-RXUQDORI(FRQRPLF/LWHUDWXUH 
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American Economic



AssociationMonopsony
                           the      Labor
MarketAuthor
                     in

  s    M
RansomReviewed  William                 Boal   and Michael                R


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     s          work
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    Journal       of   Economic              Literature

    Vol XXXV             March 1997                     pp 86 112




                  Monopsony                                                   in
                                                                                           the                Labor                    Market




                                                                        WILLIAM                       M BOAL
                                                                                   Drake University

                                                                                                 and

                                                                        MICHAEL R RANSOM
                                                                   Brigham Young University


                                    We ackniowvledghee lpful commentsf rom David Neum1l aarn kids ever                                   arl   eferees




                            1   Introduction                                                                     studies         finding         apparent        positive


                                                                                                       employment
    THE           TERM          monopsony                     first
                                                                          include
                                                                         used by
                                                                                                       effects

                                                                                                                 and
                                                                                                                     of    minimum wages
                                                                                                                            studies      finding
                                                                                                                                                           on
                                                                                                                                                          an    apparent




                                                                                                       factors
           Joan Robinson                     1969       p 215                  at    the               positive      effect      of    firm size on wages              that

    suggestion           of    her friend            classics             scholar                      cannot        be    explained           by competitive
    B L Hallward
    with     a single          buyer
                                     literally      means a market

                                              Robinson                  explored
                                                                                                       empirical
                                                                                                               Second            new
                                                                                                                  studies in the job
                                                                                                                                            theoretical         and
                                                                                                                                                   search literature




                                                                                                       upward
    the     consequences                of       monopsony                     in    the               have    explored           Dale         Mortensen's           1970
    labor     market in                particular               the        effects                     insight       that    search behavior              induces


    individual
    of    upward sloping
                   firmand
                                        labor

                                            her
                                                   supply to the

                                                   simple               model             is           the
                                                                                                                sloping

                                                                                                              short
                                                                                                                              labor supply to the firm in
                                                                                                                          run Third recently                   developed


    textbooks
    typical organization                                                                               begun
                               many

              repeated
    presented          in                    undergraduate                                             empirical          methods           from         industrial

                 Until        recently           however                the                                                 especially         those exploiting

           tone     of      that       presentation                   has          been                              observations           over time have
    skeptical          as     textbook           authors           and labor                                    to        find     their         way          into    labor

    economists              generally             have        focused                 on               economics            Meanwhile              a steady stream


    assumption investigate
    the    implausibility              of    the    singlebuyer                                        of empirical research                   has continued to
                                                                                                                      monopsony using older methods
         Since



    developed
    buyer
                  Robinson

                 market         power
                                            numerous

                                                 have        been
                                                                   models                 of

                                                                                                       monopsony
                                                                                                         Although the


                                                                                                       microeconomic      draws
                                                                                                                                      literature

                                                                                                                                       on      the
                                                                                                                                                         on

                                                                                                                                                         same
                                                                                                                                                               labor




    or even
             that      do      not

                  a small number
                                       assume
                                                   of
                                                        a    single

                                                        buyers
                                                                                   buyer
                                                                               Today                   organization       theory as the industrial
                                                                                                                     literature             on       product market
    the    term          labor        monopsony                    is    applied                       power         much of           the       labor        monopsony

    individual several
    more broadly
                 firms
                               to

                              face
                                      any model
                                        upward sloping
                                                              where
                                                                                   labor
                                                                                                       literature         looks    very different
                                                                                                                          organization literature for
                                                                                                                                                                from the



               important
                                                                                                       industrial

    supply        New          developments                   on         at        least                      reasons Dynamics                    are more


    economists literature
    three     fronts

              interest
                            have

                                in
                                       rekindled

                                       monopsony
                                                            labor

                                                                   under            this
                                                                                                              in the      labor market The large

                                                                                                               on labor market                   frictions       suggests

    broader       definition                First       new         empirical                          that   workers         probably switch                  employers
    studies       have        found         results         that        seem          to               more slowly than most consumers switch
    contradict         competitive                models            These                              brands     of      products          Also cross sectional

                                                                                                 86




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                                   Boal and           Ransom Monopsony                                in the           Labor Market                                                        87




    individual convenient
               accommodate




                                                                     distribution
    data and especially panel data on                                                                   degenerates                            a single                  wage       To



                                                                                             supply
                                                                                                                                         to

           workers are more plentiful                                than data                                                  this    case        it        is    more
    on individual buyers                      in   product            markets                           to       work            witn        the        inverse               labor

    These         data       allow detailed                 investigation                             function                  wL           Let        RL be the firm's

                                                                                             problem
    of    supply dynamics Furthermore legal                                                  revenue                   function               net             of         other          input

    minimumwages                    are much more common                                     costs 1         with           dR dL                  0 The                 firm's

    in labor           markets than are price ceilings                                                then            is




    industries
    in product



    Monopsony
                         markets

                       like       public
                                              except for a few

                                               utilities
                                                                                                                       max
                                                                                                                            L
                                                                                                                                  R L w LL                                                   1



    effects
               theories            have       important                 though




    equity
    often      ambiguous implications for the
                                                                                             for which                 the       first order                 condition             is
             of    minimumwages In addition
                                                                                                                                                        d
             considerations

    background               in the
                                              always lurk in
                                         monopsony                   literature
                                                                                the
                                                                                                                      0 dR
                                                                                                                        dL
                                                                                                                           Iw
                                                                                                                                                        dL
                                                                                                                                                               L2
                                                                                                                                                                                           2


    especially product
    because          the      wage       is   such         an     important
    determinant of economic                              welfare                             Here            dR dL               is     marginal                   revenue



    the        parentheses
                MRP
               for

            policy
                       low income
                        MLC
                         prescriptions
                                              persons However
                                                     derived           from a                                          is
                                                                                                                            while

                                                                                                                                marginal
                                                                                                                                             the        expression

                                                                                                                                                    labor                cost
                                                                                                                                                                                    in




    simple monopsony                      model can                  easily be
                                                                                             monopsony
                                                                                             Their           intersection                      determines




    survey monopsonist                                                                           L                                            1and the monopsony
    contraindicated                 in    a more complicated                                            employment

    model as will be seen below                                 In this                      wage wviL                      wv       Ll       as    shown                 in    Figure        1



    welfare employment
            we     therefore          emphasize                 theory and                    Robinson                     1969         p 220                      If    the

    measurement rather than policy and                                                                       firm could                    hire         all        the        workers        it




                L
                                                                                             wanted              at    wage wilL it would                                set

                                                                                                         higher                 at             The            difference                L7
                                                                                             L

    upward contrasted
               2     Basic Monopsony                       Models                                  is   sometimes                      interpreted                       as the firm's

                                                                                              vacancies                     G C Archibald 1954
         The      important              consequences                  of                         The        monopsony                       outcome                     may be
               sloping        supply can be                  seen       clearly                                  with            the         competitive                        outcome




    textbook Figure
    in a    simple model of a labor market with                                             which            is        given            by     the            intersection                 of
    a     single       firm We                begin         this       section              MRP and labor supply                                         wc and Lc                 in

    therefore          with a review               of the         basic
                                                                                                      1 The                 competitive                       and monopsony




    labor
    consider described
             model of a monopsonist                               and some                   outcomes                  are       identical              for        this         market       if


    implications of that                  model We then                                     dw dL                      0 i e labor supply is perfectly
             simple extensions into dynamic                                                  elastic             a     situation              which                might          be

           supply                                                                                                as zero monopsony                                 power

    2.1    The Isolated FirmModel
                                                                                                  The        first order                     condition                     2      can     be
                                                                                            rearranged                     to    give

        Consider             a profit maximizing                           firm's
                                                                                                                                MRP w
    choice        of    labor input                Let     L w denote                                                E
                                                                                                                                       w
                                                                                                                                                                                           3
    the firm's labor supply function where                                           L
                                                                                            where                 is       the       elasticity               of        labor     supply
    denotes employment and tv denotes                                                                        e
                                                                                the
                                                                                            The         left         hand              side                   Arthur              Pigou's
    firm's wage              If   L is measured in workers                                                                                         is


            Lw
    cumulative
    Under
    then                is   proportional to the

            distribution            of reservation                   wages        of           1 If     other          inputs          are    variable              it   is     understood
                                                                                                                                                                         R               L If

    perfectly government
    those      workers            available        to the firm                              they      are set          at values         that maximize                          given

                                                                                            the    firm is             a nonprofit organization or
           the     important             special           case       of
                                                                                                        RL             might Te  interpreted as some other

               elastic        labor supply this                                             objective            function increasing                    in    L




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          Wages                                                                                                               1924              p    754               unless         the      MRP




                                                                                          unfairness
                                                       Marginal Labor Cost
                                                                                                               conditions
                                                                                                               curve        is   horizontal

                                                                                                                                 for    a    horizontal
                                                                                                                                                           Jointly           sufficient

                                                                                                                                                                          long        run      MRP
                                                                                                               curve        are         1       constant                returns         to     scale


                                                                                       Labor Supply
                                                                                                               production                    2      perfectly                elastic         supply

                                                                                                               of    other        inputs            and            3      perfectly          elastic

                                                                                                               demand             for output                  John Hicks              1932 pp
     WC                                                                                                        242 46             Michael                 Bradfield               1990             The
     will                                                                                                      third        condition               is     plausible              for       private

                                                                I                             MRP              sector         firms          producing                    for    competitive

                                                                                                               output         markets               but       is    surely implausible

                                             l                  l                                              for    local       public         sector            employers

                                         Lill               Lc             LUL1 Employment
                                                                                                               Monopsonistic
                                                                                                                    Effects        of       a    minimum wage



                                                                                                               markets
                                                                                                                                 markets            respond               differently              to     a
     Figure    1 Wage             and    Employment                        Determination
                                                                                                               minimum                 wage          from            competitive
                    under         Monopsony
                                                                                                                            George               Stigler               1946           Archibald




                                                                                                               mninimum
                                                                                                               1954 A minimum below                                       the     monopsony

     1924          p 754            measure                         of        exploitation
                                                                                                                w
                                                                                                               wage              L has       no      effect            but       as the

                                                                                                                          rises        above         twM       1it
                                                                                                                                                                       creates        a kink            in
    and       is    analogous                     to       the             Lerner             index
                                                                                                               the        monopsonist's                            perceived                supply
    often      used         to      measure                         departures                from
                                                                                                               curve         and        hence             a discontinuous                     MLC

                                                                                                               employment
    competition              in product                         markets                  Clearly
                                                                                                               curve             The         profit maximizing
    E measures               the        departure                        of     wages         from
                                                                                                                          and wage                  are       on       the      supply       curve




                                                                                                               minimum
    marginal           revenue                   product                   in    percentage
                                                                                                               at    this     kink          until        the       minimum              reaches
    terms          taking         the            value              zero        in      the      case
                                                                                                               the    competitive                   wage             wc As the
    of    competition                   It       is    thus              comparable                    to



    distortions
    gaps      caused          by         other              labormarket                                        monopsonist's
                                                                                                                          rises        further

                                                                                                                                 perceived
                                                                                                                                                          above
                                                                                                                                                         supply
                                                                                                                                                                       wc the
                                                                                                                                                                          curve       becomes
                       gaps             such            as            union              relative
                                                                                                               horizontal              over         the       relevant            range            and
    wage                     or marginal                            tax rates




    supply regimes
              effects
                                                                                                               the    optimal                employment                      can       be      read
         E   has    the      virtue               of       being                computable
                                                                                                               from the           MRP curve                    Thus             employment
    from just the                 local           elasticity                    of      the
                                                                                                               determination                    passes             through            three
             curve      However                       E does                not         measure
                                                                                                                            as    the       minimum wage                         rises       first      a


                                                                                                               determined
    welfare         directly             One welfare                              measure              is

                                                                                                                                                                          a supply

    competitive
                                                                                                               nonbinding               regime                then


                                                                                                               determined
    deadweight               loss       relative                    to     the
                                                                                                                            regime              and        finally           a demand



                                                                                                               between
             outcome              given           by
                                                                                                                                   regime                 These              regime          shifts
                             L
                                    MRP L w L dL
                                                                                                               create        a nonmonotonic                            relationship



                                                                                                               employment
              DWL             J                                                                        4                    the        minimum                 wage             and




    necessarily
       E
    but      unlike                                                   loss        is    not                         The     second              regime               corresponding                   to
                                  deadweight

                                                                F2                                     E               upward sloping                          segment                between

                                                                                                                w 1L and wc L where employment
                    decreasing                        in                   Nor           does                 the

    measure            the        departure                         of        wages           from



                                                                                                              segment
    their     competitive                    level                  Pigou's                                   is    supply determined                          has        no counterpart
                                                                                                              in     comnpetitive               markets                   Along       this




    deadweight
      2 However             for    the           special            case        of      horizontal                          an increase                  in    the        minimnumwage
    MRP and linear labor supply the                                             ratio    of
                                                                                                                                  employment                         In
              loss to       total competitive                        earnings            wc   LC              increases                                                    particular              the

       1
                                                                                                       is

    given    by    1    e                which             is   decreasing               in       For         elasticity          of    employment                        with     respect           to

    constant       elasticity labor               supply the                     same      ratio       is
                                                                                                              the     minimum                equals           the       reciprocal            of     E
    decreasing      in e     when        e       exceeds about 0.3
                                                                                                              ironically           policy            is    most           effective          when




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                                          Boal and             Ransom Monopson                                      in the            Labor Market                                                                 89


     E is small On the                       other           hand when                     E is           Lwt                 Ll 3                  Because                labor             supply                  is


     small            the     range         of    wages              over          which             a    likely               to         adjust               slowly            to         any                 wage


     employment
     minimum wage                          tends        to        boost                                   change                   both             partial             derivatives                        of    this

                                small E gives                                 maximum
                                                                                                          Consequently
     decrease
                  is    also                                        the                                   function                  are         likely             to    be      positive

     percent            wage         increase           that         does            not                                                        inverting                      this                  function

                      employment                                                                          gives

           The         previous            discussion                assumes               that
                                                                                                                                               wt            wt Lt LI                                                5
     the        firm remains                in operation                      However
                                                                                                          with               Jtlvv'L t0                  but            JtwVLtl              0.4           If     the
     it    is    conceivable                that        a minimum                       wage
                                                                                                          firm has                  discount                   rate        r     its       problem                   is
     could         decrease           profits           so        much           that      the


     employment
                                                                                                          now
     firm        would          shut        down             before
                                                                                                                              00
                  ever        reaches            the    competitive                     level


     L and employment                            would drop                     to    zero                    max                  Rt Lt

     monopsonist
           Wage
                   firm
                         discrimination

                               knows         the
                                                              If

                                                        reservation
                                                                      the

                                                                                       wages
                                                                                                          Ll   L2
                                                                                                                             t1                                                                      I     I




     of        individual           workers             it     can          engage              in
                                                                                                                               1
                                                                                                                                                wLtLt1 LO5                                   r                     6
     first degree              wage         discrimination                            paying

     each        worker             only     his        reservation                    wage               for          which              a         representative                          first order

     In        practice        the        firm     is    likely            to      know         at        condition                  is




     different
     most the


     elasticities
                groups of
                            elasticities

                                     workers
                                                   of    supply

                                                         If         these
                                                                              of
                                                                                                                   0         dL           wt
                                                                                                                                                         al        L           awt1                        r       7
                 vary        across         groups                  the         firm       can


    discrimination
     engage            in    thirddegree                 wage                                            Assume                that the                  inverse           elasticities




    workers
                  setting           wages         separately                    for     each

    group              By equation                3      even          if       all
                                                                                                                         1     1
                                                                                                                                   aL          Lw a1                                             t         I       8
                are     equally             productive                      groups              of

    workers             with        higher         elasticities                  of    labor
                                                                                                         are        constant                   over           time       and that a steady
    supply         will

                  pp 224 27
                              enjoy        higher        wages                Robinson
                                                                                                         state               holds                  Lt         Lt 1 and                Wt                Wt          5


                                                                                                         rearranged
     1969
                                                                                                         Then            the        first order                    condition                can be
    2.2         Dynamic             Labor        Supply                                                                             to    give


          Now           suppose             the         profit maximizing                                                                MRPt wt w
    firm operates                    in    many                                    Even                                      Et       SR                                                                           9

    inelastic
                                                         periods                                if
                                                                                                                                                         t                                    r

    short run               labor         demand             is      relatively

                       short run           considerations                        must be                       3
                                                                                                                   This       labor       supply             specification            can    be            derived

                                                                                                         from a          partial          adjustment                or adaptive             expectations
    balanced                against        longrun                considerations
                                                                                                         framework                   Boal           1995           However             similar             results


                                                                                                         specification
    if    labor supply               responds            to         wage changes                         can       be    obtained              from          any   distributed




                                                                                                         obtained
                                                                                                                                                                                           lag

    with        a lag




          workers
                                                                                                               4   The       signs        of    these          partial      derivatives                    are
          The    possibility         of    exploitation             thus depends                                         by                                                                  L wt               Lt 1

                                                                                                         explanation
                                                                                                                                   totally          differentiating              Lt
          on two things on the                   ease    with which                                      and       rearranging                 the       results         An    intuitive


                 can     move and on the                      extent          to      which                        for       the    negative             derivative         associated                with       Lt I
          they and their employers consider                               the      future                is   that      the    higher           the      past      level    of   employment                      at a

          or   look only       to    the    moment                Hicks         1932       p             firm          the         lower        the          wage       required            to        obtain           a

                                                                                                         given                       of    employment                      now         because                  labor
          83                                                                                                            level


                                                                                                         supply adjusts slowl




    Suppose
                                                                                                              5The           simplifying                 assumption            of      a    steady
          This         principle            can        be         illustrated               by                                                                                                                  state

                                                                                                         rules         out     cycles          of    high       and     low      wages               However
    the         following            very        simple              model                               the       results         would            be       qualitatively          similar           if       wages

                 the         firm's        labor         supply                 function                 and       employment                   grew           or shrank         at    constant                 rates

    function            takes         the        dynamic              form             L                 over       time




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     Finally

     derived
                           the

                           by
                                          long run

                                         equating
                                                                        inverse

                                                                        Lt          Lt         i
                                                                                                elasticity

                                                                                                           L       is
                                                                                                                          perfectly
                                                                                                                           Long run
                                                                                                                                             elastic
                                                                                                                                                        labor

                                                                                                                                                                only if
                                                                                                                                                                           supply

                                                                                                                                                                                       flq aL
                                                                                                                                                                                                  is     less       than

                                                                                                                                                                                                           afh aL and                is


     given

     may write
                      by       CLR1                       CsR                       8I1               so     one
                                                                                                                          derivatives
                                                                                                                          perfectly

                                                                                                                                            are
                                                                                                                                                     elastic

                                                                                                                                                     equal             The
                                                                                                                                                                           if    the

                                                                                                                                                                                       reason
                                                                                                                                                                                             two partial
                                                                                                                                                                                                          is    that        under
                                                                                                                          the           former condition                                     larger           firms suffer


                        EEz SC                       r                                                            01      greater                 net      outflows                    of         workers                 holding
                                          S0R1
                                                                   6L iR
                                                                              1r                                          wages                   constant                       To               avoid             shrinking

                                                                                                                          larger               firms            must                 set        higher              wages           By
    In        words                 the           rate                    exploitation                             a




    supply
                                                                   of                                       is
                                                                                                                          contrast                   under the                        latter             condition                 net
    weighted                    average                   of        the           short run                  and
                                                                                                                          outflows                   of    workers                     are             independent                  of
    long run               inverse                 elasticities                     of        labor
                                                                                                                          firm size                     so       larger                firms              need            not      set




                                                                                                                          labor
                  where                  the       weights                   depend                   on       the
                                                                                                                          higher              wages             to     avoid shrinking
    discount                   rate           r    If     periods                 are          annual or                           This        example                     illustrates                    the        principle
    less           then         r        is   likely               to    be small                    and       the
                                                                                                                          that          under             monopsony                               with        dynamic
    longrun                    inverse                  elasticity                   is         weighted
                                                                                                                                        supply E                 lies           between                   the        short run
    much more heavily                                     than            the       short run 6
                                                                                                                          and               long run                  inverse                     elasticities                    This
             Labor         supply                  function                    5       includes                   an
                                                                                                                          principle                  implies                                 that         E is less               than

                                                                                                           L1
                                                                                                                                                                            first

    interesting                      special               case              Let          hwt                             the           short run                 inverse                    elasticity               of     labor
    express             the          number                 of          new       hires into                   the
                                                                                                                          supply               if      firms                consider                    the         future          at
    firm           and         qwt                Lt 1 express                         the          number
                                                                                                                          all           Second             it     implies                    that        E can            still    be




                                                                                                                          longrun
    of       quits 7           The            current                   employment                         level
                                                                                                                          positive                  even         if    long run                        labor         supply         is

    can thus be written                                    as
                                                                                                                          perfectly                  elastic                In the                latter        case


                                                                                                                          competitive
                                                                                                                          general
             Lt       Lt   l             h wt Lt1                         qtvt Lt1                             11                       employment                              is    below               the

                                                                                                                                        level          though                   wages             are     not 8 In
    The           short run                    inverse                  elasticity                  of   labor

    supply derived                                by holding                      Lt      i     constant
                                                                                                                                            the      rate        of         exploitation                       E depends
                                                                                                                          directly                on      the         firm's discount                               rate    r and
    is   given          by
                                                                                                                          inversely                  on        the          speed               with          which          labor


                                               L          ah                 aq
                                                                                                               12
                                                                                                                          supply responds                              to        wage              changes


                                                                                                                                        3      Sources                of    Monopsony                          Power



                                                                                                                          monopsony
    Assuming                    ah lawt                   0        and        aq lawt                    0 the
                                                                                                                                   Textbooks                     usually                   interpret
    shortrun                    inverse                  elasticity                    is          positive
                                                                                                                                         as describing                           a particular                       firm with
    The           long run                    inverse                   elasticity                  derived
                                                                                                                          exclusive                  access            to            a completely                     isolated
    by equating                          Lt          Lt        i             L    is      given            by
                                                                                                                                            market               Such                                                        rare



                                                                                                                          depend
                                                                                                                          labor                                                      cases             are surely


                                    I
                                                            L             ah                                   13         reservation
                                                                                                                          When               other

                                                                                                                                              wages
                                                                                                                                                           firms are present

                                                                                                                                                                of     potential                       employees
                                                                                                                                                                                                                    the




    labor monopsony
                                                                                                                                             on        the            wages                  offered                by      other

                                                                                                                          firms                One             might                  expect               competition

         6                                                                                                                from alternative                             employers                         to    thwart
             Simple dynamics can be introduced on the


          reservation
              demand            side          with                      change         in the            results                                     effectively                       driving             the



    provided
                                                        little


    For       example               if    the      revenue               function              is    given        by                    wages                                                           employees                  up
    RLt Lt1 then
                                                                                                                                                          of     all        potential
                                          results          9 and 10                    still        hold
                   MRPt                                                                                                             the        competitive                             wage               What             might
                                is        defined             as        aRt aL                     aRt iaLt               to


     1            r


    unitary under
         7   If   the   elasticity of                   hires           quits with                 respect        to           8
                                                                                                                                   If    the        long run           supply                is    perfectly          elastic       at

    LtI is unitary then                            the        hiring          rate            quit rate           is     wage           t      then       this        must           be      the        steady state            wage
    independent                 of       firm size                 Some authors discussed                                 under             either        monopsony                    or         competition               Under
    below assume                    the       elasticity of                  quits is          indeed                     monopsony                    MRP        w7v           by    equation                10      while


            downwardsloping
                  but
    perhaps even zero
                        the         elasticity            of       hires       is    less           than    one                     competition

                                                                                                                                             then       L1 must
                                                                                                                                                                 MRP w
                                                                                                                                                                                be    less
                                                                                                                                                                                           If      MRP
                                                                                                                                                                                                than      Lc
                                                                                                                                                                                                               is




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                                        Boal and            Ransom Monopsony                                  in the         Labor Market                                                  91




    several
    prevent           this The           literature               suggests                          here            On        the           one      hand           if    each        firm's




                                                                                                    although
            possibilities                                                                           MRPi curve                     is       horizontal then n has no

    3.1     Oligopsony
                                                                                                    influence w L            on         equilibrium                E            or



                                                                                                    effectiveness
                                                                                                                        one might argue that the

       In     classic            oligopoly               models            firms         do                               or likelihood of collusion                                  might
    not     take        prices          as         given         Instead              they          be        inversely                 related          to    the         number          of

                      maximize                                                                      firms On the other hand                                                each




    formally market
    jointly                               profits                the       collusive                                                                                 if               firm's

    model          or    take      each            other's         quantities               as      MRPi curve                         is    downward sloping then




                                                                                                    under
    given          the       Cournot                 model                 Although                 the addition of a new firm shifts the

    similar models                  are       rarely         developed                                        MRP curve to the right increasing
               L                                                                                                w and

             positive
                 in the          labor        economics                  literature                 both                                but          this result               holds
    many empirical                  studies               comparing              wages                        competition too In                summarya


    nonwage
    and employer                  concentration                    across         labor                        effect             of    n on w and L is evidence



    inspired
    markets           seem        to     rely        implicitly             on                      for       collusion                     and      against              competition
              taking              models                  presumably                                only when                 total market demand for labor




                                                                                                    below
                   by       similar           empirical                 studies             of      by    all      potentially colluding                                 firmnsis held

    product           markets 9               A brief            review          of     the         constant a                         persistent             problem             in the


    facilitate
    collusive          and       Cournot              models             will                       empirical literature                             to       be     discussed



    literature
                                                                                                               I
            interpretation                     of    this        empirical

                       This       subsection                     maintains              the              Under               the       Cournot model                           firms play

    assumption               that       all        workers          at     all    firms             an        employment setting                               game and each
    receive           the    same         wage              at     least         in    the          firm's problem becomes

    long      run an             assumption                relaxed           in       later
                                                                                                                        maxRiLi                     w Li Li L1                            14
    subsections

       Adam Smith was convinced                                        that firms                   where           Li       is    the       firm's           own employment

      are always and everywhere                                  a sort of tacit
                                                                                                    level          RW         LUis           the     firm's          own revenue
                                                                                                                                        L 1 the employment
                                                          in

      but constanta nd uniformc ombinationn ot to                                                   function              and                is                                       level

      raise the wages of labor above their actual                                                   for all         other firms in the labor market A
      rate Smith1937 p 67



    results
                                                                                                    single         market wage                      is   determined by the




    except
                                                                                                    total      employment of                          all     firms L            Li       Lj
    The     collusive             model gives                    the       same
                                                                                                    The        first         order condition                        for        each    firm
              as      the    basic       monopsony                      model

    horizontal
      MRP      exploitation
            that

                 sum        of    all
                                        now          refers

                                         firms individual
                                                                   to      the

                                                                                  MRPi
                                                                                                    implies a

                                                                                                              Ei given by
                                                                                                                             firmspecific                     rate        of




    curves         Thus           all    firms            enjoy          the      same                                                 MRPi           tv       Li
    rate    of     exploitation               E 10 The comparative                                                        E                                    L          1               15
                                                                                                                                              w                L
                                                                    number

                                                                                                   elasticity
    statics        with       respect               to     the                           of
                                                                                                   where                      again the market level
    firms        denoted           n deserves                    consideration
                                                                                                                    e   is

                                                                                                          of       supply               If    all    firms have                 identical



    explicitly
      9 The      studies known

                nonwage taking models are John
           develop
                                              to    the   authors that                             MRP1curves
                                                                                                   they            will           have
                                                                                                                                        the       symmetric case then
                                                                                                                                                identical                employment
                 L
           1995 and Paul Beck 1993 Donald Yett

    oligopsony
    Penrod
                                                                                                   shares               Li             and rates of exploitation Ei

    industrial inversely
     1970 pp 379 80 develops a kinked supply
           model but as widely noted in the                                                        The        rate of exploitation will                                   then       be
           organization literature this                          model has            little                            proportional                     to    the        number          of
    predictive         power        being            compatible            with         any
                                                                                                   firms            n        If    firms have                  different              MRPi
    wage employment outcome                              from competition                   to

                                                          p 244
                                                                                                   correlated
                                                                                                   supply
    monopsony           Jean Tirole 1988
                                                                                                      11 Total          market          labor       supply may also be
      10 The       first    order        conditions              for    joint     profit

    maximization            require      that       MRP1s for all firms be
                                                                                                              with      n     If       so then       tests     of    competition          are

                                                                                                                    produce                                                     labor
                                                          market MLC
                                                                                                   likely to                            false     negatives         unless
    equated      to   each other         and to
                                                                                                         is   controlled               for




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    curves           the      asymmetric case then                          the          On the one hand if                            each worker prefers




    nmarket
    same equation                   shows

                 possible
                                                that          firms with                 a particular firm over all others byXa least




    exploitation exactly
    high MRPi curves will                      have         higher                       some finite amount then                                 the        only
                shares and higher rates of                                                       Nash equilibrium sets                                the    wage
                 An employment weighted                            average                            equal to the                 collusive            level       Peter
    of these rates of exploitation is                          given by                  Diamond             1971 12              On the           other         hand        if




    jfl          E    E       E LL L                                          16
                                                                                         continuously
                                                                                         workers preferences                            are distributed
                                                                                                             so that at least some workers


                                                                                         exploitation
                                                                                         are on the               margin then
                                                                                                                  smaller but not zero In the
                                                                                                                                                 the      rate of




                                                                                         upward
                                                                                                             is




    Herfindahl
                                                                                         latter        case         the          inverse              labor        supply
    where the sum in brackets                          is   the
                                                                                         function            17                 differentiable                   and

                      H
                                                                                         market
                                                                                                                      is
                 index        of    concentration                hereafter

    denoted
          The      relationship           between   E and H is
                                                                                         alternative  sloping       because even
                                                                                                       employers are present
                                                                                                                                                      though
                                                                                                                                                        in the


    not a comparative                 static    one Both E and                                    their       relative               attractiveness                 varies


    H are endogenous market outcomes and
    depend           on       the    number            of     firms and
                                                                                         nondegenerate
                                                                                         across workers

                                                                                                      distribution
                                                                                                                           resulting in a

                                                                                                                                  of       reservation            wages
                                                                                         The      first      order condition                       for      each         firm
    the         distribution         of MRPi across them
                                                                                         exploitation
    between elasticity
                                                                                         implies        a firmspecific                       rate of
     Harold Demsetz                   1973 Nevertheless a
                                                                                                 Ei    equal to that firm's partial
    positive         correlation           across           markets

          E and H or E and n is evidence
                                                                                               of tvi with          respect to Li

                                                                                               The comparative
                                                                                         differentiation
                                                                                                                                    statics        of     classic
    of nonwage taking behavior because



    possible
                                                                                 if


                               w as given the only                                                    number      with respect                         the


    irrespective structure
                                                                                                                                                 to
    all        firms took
                                                                                         of    firms is unclear                     without            more
               equilibrium implies E equals zero


    negative elasticity  of

                correlation
                              H or n By contrast a
                                    across     markets between
                                                                                                  However                 it

                                                                                         as more firms enter the market the
                                                                                                                                 seems reasonable that


                                                                                                                                                                    grow
    competition
    w and H is not evidence                                                                       of supply to any one                           firm will
                                                against
                                                                                         and the            market              will       approach              hedonic
                unless     labor supply and total market
                                                                                         competition

    constantagain
    demand            for     labor are         held
                  a persistent problem for empirical                                     3.3    Moving Costs
    work
                                                                                               When           workers                   must            pay          costs
    3.2        Classic Differentiation                                                    whether             pecuniary                     or        psychic              to



    dimensions resembles
    conditions dynamic
                                                                                         change         firms the resulting model
          If    firms differ discretely                along
                                                                                                 classic differentiation                           but with a
                 of say location             or working
                                                                                                       element                 Firms between                       whom
                  and workers have                heterogeneous
                                                                                        the worker             is     indifferent                at    the       time of
    preferences               on    these      dimensions              then
                                                                                                  become

                                                                                        location
                                                                                        hire                           differentiated once                                the
    each         firm may enjoy an               upward sloping
     inverse supply function                    of     the form                         employee             moves to a particular job


                                               X                                                  The         importance of                        this     post hire
                              wj    w     Li                                17            differentiation depends                                on      the      length

    where         X                                                                     of     wage         contracts                whether             explicit          or



    Bertrand
                      represents          the actions of other
         g
    firms in          the      market e                 wages




                                                                                        labor
                  or employment levels                      Cournot                          12This    is   because        at    any other         wage     level        firms

                                                                                        will   want     to cut    wages         slightly      because        a   wage      cut
    and the firm's problem becomes
                                                                                        smaller       than    workers            utility     differential         will     not


                     maxR i Li wiLi              X i    L                   18
                                                                                        cause    any

                                                                                               supply
                                                                                                        workers

                                                                                                         function
                                                                                                                       to

                                                                                                                       is
                                                                                                                                leave

                                                                                                                                vertical
                                                                                                                                            Here
                                                                                                                                            over
                                                                                                                                                      the    inverse

                                                                                                                                                      a small range




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                                                 Boal and                   Ransom Monopsony                              in the Labor                     Market                                   93


                                                                                    commit                                                                            commit



     results unlikely
     implicit                   If         the            firm         can                                 to      and         firms         cannot                                    to    future


     employee's
     wages            for

                          tenure
                                the              entire

                                                     a competitive
                                                                     length         of

                                                                                        market
                                                                                              an                   wages Therefore
                                                                                                                                to     apply                to
                                                                                                                                                                this    model seems
                                                                                                                                                                      unskilled          workers
                     If     the                 firm            cannot             commit                  to      whose        alternative                     employers are in close
     wages the firm enjoys monopsony power                                                                         proximity            and                whose            wages           can     be




     seniority managers
     when        wages               come                 up for renegotiation 13                                  roughly specified                        in    advance          at low         cost
     As firms exploit                                this       power and workers                                  It    also seems unlikely to                             apply to


               substantial
     showing
     anticipate                 exploitation                          the     wage                                        or other skilled workers with




     upward   profile

               downward slope or
                 slope
                                becomes


                                 than
                                                                front loaded
                                                                       at

                                                               competitive
                                                                             least            less

                                                                                              markets              likely
                                                                                                                          specific

                                                                                                                   turnover           costs

                                                                                                                                       apply
                                                                                                                                             training

                                                                                                                                                      to
                                                                                                                                                                      and
                                                                                                                                                                firms It
                                                                                                                                                                             therefore

                                                                                                                                                                                   seems
                                                                                                                                                                                                  high
                                                                                                                                                                                                  most
                                                                                                                                                                                                  with


                                                                                                                   employers
                                                      in                                                                        to                          to        professionals

         Dan          Black                     and             Mark          Loewenstein                          general          skills       whose            alternative

     1991                                                                                                                  are        geographically                         dispersed             and

           Moreover                   if        moving costs                   differ              across          whose wages                   cannot be                  specified        far in

     workers               and             are            not         observed                 by     the          advance such                            as     college              professors



     nondegenerate
     firm then                  the              firm           confronts                 a                         Black        and Loewenstein                             1991 Ransom
                                distribution                           of          reservation                     1993
     wages            The            firm                 must         inevitably                  drive
                                                                                                                   3.4    Equilibrium Search
     away        some                low moving cost                                employees



     employment
     in       order

                     of
                           to        exploit

                           long tenured
                                                               the    rest

                                                                      workers
                                                                                   so

                                                                                              will     be
                                                                                                                        Models         of        job
                                                                                                                   takes time for workers and firms to find
                                                                                                                                                                search assume that                  it




     reduced              relative                   to   a competitive                       market               each     other            Thus a               firm's          flow      of    new

     differences
     Alternatively

                     in    mean
                                           if    the

                                                 moving
                                                               firm observes

                                                                       costs            by      group
                                                                                                                   hires is      bounded
                                                                                                                   applicants and the
                                                                                                                                                            by a finite
                                                                                                                                                                  inverse
                                                                                                                                                                                   flow of job
                                                                                                                                                                                  elasticity        of




                                                                                                                  imply
     the       wage discriminating                                      firm            will        offer          labor supply to the firm must be positive
     the       lowest            ex             post           wage          to     the            group           in    the        short         run see                    equation             12
     with       the         highest                       moving             costs              These              However some recent search models
     predictions                 are             very           similar                   those                           a positive              long run inverse



     moving distribution
                                                                                  to                       of                                                                           elasticity


     discriminating
     the      textbook

               monopsony
                                     monopsony
                                                     respectively
                                                                      and
                                                                                        but
                                                                                                                  equilibrium
                                                                                                                   as    well       These models
                                                                                                                                    search                 models
                                                                                                                                                                        are called
                                                                                                                                                                             because             their

              cost        models                      also           offer         predictions                     main motivation                         is    to   explain the




    outcome reservation
     about       turnover                        Turnover                   will        always         be                       of    offered               wages           as    the outcome
     increased             relative                   to       the    competitive                                 of optimizing behavior                                by both workers
                     in    that                 market                In      equilibrium                         and firms A searching worker's

    frequently conversely
    perhaps
     low moving cost                                 workers            will            move                              wage is optimal only if                                 at least        one



               optimal
                       but           command                         high     wages                               firm actually offers that wage while
               even         higher                   than        competitive                    wages                           an employer's offered wage is


    Pissarides
         Yannis        Joannides

                       1985                     Black
                                                          and
                                                                 and
                                                                      Christopher

                                                                             Loewenstein                          at
                                                                                                                            only if
                                                                                                                         least       one
                                                                                                                                            it    is


                                                                                                                                                 worker
                                                                                                                                                           the    reservation wage of

                                                                                                                                                                       Thus        the      set    of

     1991 Ransom                           1993                                                                   wages actually                  offered by firms expecting

          Post hire              exploitation                          is    possible               only          to attract         workers                    formally the support

    if    moving costs                          to    workers are important                                       of     the     offered wage                         distribution               must
    turnover              costs             to        firms are              unimportant                          be     identical               to    the            set    of    reservation

                                                                                                                  wages        of    workers expecting                            to   find      jobs


                                                                                                                  distribution
         13   Formally           absence                  of    precommitment                   implies
                                                                                                                   the support of the reservation wage



    subgame
    that      labor       contracts                  must        be     self enforcing                     or

    equivalently            that            the           equilibrium              of     the       game             How                                   can        this    set      of    wages
    played      between              workers                   and    firms    must           be                  show dispersion                     in        equilibrium
               perfect
                                                                                                                        One      strand               of        literature             beginning




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                                                                                                                    wage                                                         shown


     assuming
     with         James            Albrecht                  and             Bo      Axell              This                    distribution            is    easily                          to




     Workers
      1984          derives             wage            dispersion                 by                   be     stochastically                 increasing               either           in   tVL


                    exogenous                 heterogeneity                                             or     in    the        ratio     X1 6 holding                          the     other

             initially      unemployed                        are       assumed                 to      quantity           constant

     have       varying         values             of     nonmarket                   time                    The     highest            and lowest                   wages            are    of

     while        firms are            assumed               to     have varying                        course             endogenous                 The             lowest            wage
     productivity             levels          In equilibrium                         more               WL      the    reservation                  wage      of       unemployed
     productive           firms          offer          higher           wages            and           workers            is    determined              in       the           market        as


     workers        who         value         nonmarket                     time      have              follows            If    wage         offers         arrive             no      faster

     high

     employed
                reservation

                          workers
                                        wages

                                                are
                                                          Nevertheless

                                                             paid            less     than
                                                                                            all

                                                                                                        unemployed
                                                                                                        for

                                                                                                             X0
                                                                                                                employed
                                                                                                                      workers
                                                                                                                                        workers
                                                                                                                                          X1
                                                                                                                                                         than

                                                                                                                                                              then
                                                                                                                                                                            for

                                                                                                                                                                                WL equals
     their marginal                product                                                              b the         value       of     nonmarket                time            If    offers

          Another         strand         of    literature                   beginning                   arrive         faster            for         employed                       workers

                                                                                                                    Xo then
     allowing minimum
     with         Kenneth           Burdett                  and         Mortensen                       X1                             a job provides                      not        only      a
      1989         derives         wage            dispersion                 by                        wage         but        a means         to   a better               job so WL
            employed            workers              to      search            for jobs                 is    less    than        b     However              if        a    legal

     The          reservation             wages                   of        employed                                 wage          greater           than             the

     workers        are       simply           their         current               wages                marketdetermined
                                                                                                                wage imposed     lowest                  is                                then



     dispersion
     This    is    sufficient

                     in       equilibrium
                                         to     guarantee

                                                                  even
                                                                             wage
                                                                                   though
                                                                                                        tVL

                                                                                                        highest
                                                                                                               becomes
                                                                                                                           wage
                                                                                                                                        the

                                                                                                                                          WH
                                                                                                                                                legal

                                                                                                                                                     found
                                                                                                                                                             minimum
                                                                                                                                                                            by
                                                                                                                                                                                           The
                                                                                                                                                                                       setting

     firms        and     workers             are        homogeneous                        ex           FtvH                   1 in     equation                     19         is     easily


     ante                                                                                               shown         to        equal         the    following                  weighted

          The       basic          model                of        Burdett                 and           average        of       WL and MRP

     parameters
     Mortensen             has
                        b the value
                                       just        five

                                                    of
                                                              exogenous

                                                             nonmarket                time
                                                                                                        WH       WL
     enjoyed        by     unemployed                        workers                MRP
             constant
                                                                                                                                                                                 J 20
     the                           marginal               revenue               product
                                                                                                                                        MRPf1                         6j
     of    employed           workers               Xo the              arrival rate

     of job       offers      to    unemployed                      workers                X1
     the    arrival rate of job                     offers         to       employed                   WH      is    increasing           in the      ratio X1 6 but
     workers            and        8     the        exogenous                     rate          at      nevertheless               WH              MRP as long as 8 is
     which         worker firm                  matches                  break             up          positive
      Here         breakups              will       be        interpreted                       as           Different           wage         offers     in the             support           of

     worker        exits        from          the        labor           force            but          F      yield        different           levels        of        steady state


     destruction
     they    may         also      be

                          Discounting
                                         interpreted

                                                          does           not
                                                                            as job

                                                                                   occur
                                                                                                        employment
                                                                                                        an     equilibrium
                                                                                                                                   What makes
                                                                                                                                          distribution
                                                                                                                                                                  equation

                                                                                                                                                                           is       that
                                                                                                                                                                                             19
                                                                                                                                                                                             all

     and firms are assumed                           to      care        only       about              wage          offers       can         be     shown             to       yield        the

     the    long
                 equalprofit
                           e
                    run When                  firms play                 a one shot                    same         steady state                                  i            an




     offers
                                                                                                                                               profits

    wage        postingMRP w    game          it    can be shown                          that                       condition           X                                 L     holds       for

    the

             is  interpreted
            equilibrium

                   nondegenerate
                                       distribution

                                                        and       has
                                                                       of     wage
                                                                              compact
                                                                                                       all    firms This
                                                                                                                      as the
                                                                                                                                      last

                                                                                                                                   long run
                                                                                                                                              condition

                                                                                                                                                        supply
                                                                                                                                                                       can be
                                                                                                                                                                            of    labor to

        WH
    distribution
     support
                 homogeneous
                    WL
                     takes         the
                                         In particular this

                                          form
                                                                                                       any individual                   firm because

                                                                                                                                   Totally           differentiating
                                                                                                                                                                      firms are




                                                                                                       result
                                                                                                                                                                                           this

                                                                                                       condition            with         respect        to        w        and         L   and
                                                                                                       rearranging               terms         gives         the        familiar


                                                   MWRP      WL                                                                    MRP w
                                                    Wo e WL WHII                           19                                   FLR 0                                                        21




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                                       Boal and                  Ransom Monopsony                                    in the           Labor Market                                                 95


     Because             wages         are           positively                related             to                           matching               hires         are proportional

     firm size            the      distribution                       of       firms         over          to       firm size and it can be shown that the
                              Fw




                                                                           balanced
     wage          offers                       is    different                  from         the          equilibrium distribution of offered wages
     distribution             of       workers                  over            wages              It      is       degenerate                  at     the        competitive                   wage
     can be shown                  that the                latter          distribution                    tv          MRP Burdett and Tara Vishwanath
     is   given      by                                                                                    1988 However if random and balanced

                          Gw                              Fw                                               matching coexist some wage                                                dispersion

                                                 X1 6 1                   Fw
                                                                                              2
                                       1                                                                   and monopsony                          can        still     be supported                    if


                                                                                                           a sufficient                  fraction            of      search           is   of     the

          What       prevents               a firm from                        expanding
                                                                                                           Vishwanath
                                                                                                           random                  kind              Mortensen                   and




     assumed
     employment               without                 raising              its      wage           in                             1994               Some            writers            identify

     this     model           The           answer               lies          in    the                       balanced                 matching                     empirically                with
                     matching                    technology                          termed                worker search through personal contacts

         random           matching                    in         the           literature                  and                  random matching                               with         search
     which         assumes             that          each firm                 is    equally               through publicly                            advertised             vacancies            or
                     make an                                                                               gate applications but such an
                                                                                                           identification
                                                                a given             tvorker


                                                                                                           extremely
     likely    to                          offer          to

     Put differently                   workers                 sample            from the                      makes much an
                                                                                                                      probably                               too                      of

                            Fw not Gw Firms
     consequently
     distribution

                         suffer            diseconomies                        of   scale          in      the Burdett Mortensen
                                                                                                                                 stylized         model 4 The essence
                                                                                                                                                                     model is              that
                                                                                                                                                                                                    of

                                                                                                                                                                                                    in

     hiring        workers             To see this                    let       m denote                   search models diseconomies                                            of     scale      in

     the    measure           of       employed                  workers in the                            the net               hiring function                     htv L                 qv L
     labor     market              let      u        denote            the          measure                can         support                  steady state                   equilibrium
     of    unemployed              workers                     and       let     n denote                 wage             dispersion                  and      monopsony even
     the      measure              of           firms              all         continua                   with         ex ante homogeneous workers and


     unemployed
     workers
     Hires         are   obtained

                         workers
                                                through
                                                or    to       employed
                                                                       offers         to                   firms and without time discounting

                                                                                                          3.5        Efficiency                Wages at Large Firms
            currently         earning                 lower           wages           so the

     flow     of    new hires              is    given          by                                              Consider an efficiency wage model in
                                                                                                          which                 firms economize                        on       monitoring

                   hwL             n
                                            ou             2kmG            w                  23          costs

                                                                                                          If
                                                                                                                       by paying above equilibrium wages
                                                                                                                    firms suffer diseconomies                                   of     scale       in

                                                                                                          monitoring                    workers              as       James Rebitzer
     Quits         are    exogenous                    6         or       induced              by         and Lowell                     Taylor              1995             assume             and
     offers        from     better paying                             firms          so      the
                                                                                                          Guillermo                     Calvo          and      Stanislaw               Wellisz
     flow of quits          is     given             by                                                     1979                derive      from a hierarchical model

              q wL                 6        X1 I               F wL                           24
                                                                                                          employment
                                                                                                          then         when
                                                                                                                           it
                                                                                                                                        the       firm increases

                                                                                                                                 must increase wages to maintain
    Equations              23          and           24 show                   that    quits              the        required               penalty for                   shirking The




    longrun
    are     proportional                   to        firm        size          but     hires              result            is    upward sloping                        supply             in    the




    equating
    are not Thus aq lL                                dldL            and the                             long run implying that the wage must be
            inverse         elasticity                 derived                 by                         below marginal revenue product                                                the dif
       L     htv L                 qw                      is         positive               see

    equation             13                                                                                    14
                                                                                                                    Some         evidence        on    hirina rates           and firm size         is




    example
                                                                                                          given       in    Charles         Brown        and James Medoff                       1989
          Alternative           matching                   technologies                      can
                                                                                                          pp        1048 49             Comparatively                little     attention         has
    give      different          results              of       course               For                   been        given        to    the     realism        of    the      quit     function

                   one simple alternative                                  technology                     though           evidence            cited    in    the      same          source       pp
                                                                                                          1041 44               and     elsewhere         suggests            that    quit
    is     balanced         matching                       wherein                  workers                                                                                                     rates



    sample          from    Gw                  not    Fw Under
                                                                                                          decline          with    firm size




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     ference           is       the    increase                in        efficiency              a particular                  labor market or the entire
     wages         for        inframarginal                    workers              and          economy

     competitive Concentration
     employment is reduced                              below            the                          Concentration and                          exploitation




     imperfect exploitation
               modelsee
                        perfect information                              level           In                               is   related to the rate of

     contrast          to   search models however                                                              directly          in       the     Cournot
                   information here increases wages                                                      equation               16 This relationship also
     above        their competitive                     level While this                         exists        roughly in the collusive                          model to

     empirical
     model        is

            evidence
                       intuitively          plausible the
                                 for diseconomies                     of scale           in
                                                                                                 the     degree that concentration
                                                                                                 coordination                  and        possibly       in the
                                                                                                                                                                 facilitates

                                                                                                                                                                       models
     monitoring             is   only mixed                    C Brown and                       of     classic            differentiation                and         moving



     Manning
     J      Medoff          1989        pp             1051 55              Francis              costs         to     the       degree that              concentration

     Green Stephen Machin and Alan                                                               proxies for               distances             between         firms and
                 1992 pp 13 15                                                                   moving costs                   In    contrast           concentration

                                                                                                 plays         no         role       in     efficiency wage                   and
             Comparisonsand Contrasts



     section
     3.6
                                                                                                 equilibrium search models

           All   the     models presented                         in this                             Firm           size       and        exploitation               In       the
             share with the                   isolated            firm model                     asymmetric Cournot model Es                                          is    posi
     the     following            features              1 labor supply                           tively       related           to the           firm's employment

     to    the individual firm is                       upward sloping                           level       Li In the                basic        search        model          of

     at least in the short                   run 2 the firm sets                                 Burdett and Mortensen by contrast                                             all

     its    wage below                the    marginal product                            of      firms lie           on the same labor supply curve


     employment
     labor        3 and the firm sets
                 level      below       the        competitive
                                                                  its

                                                                               level
                                                                                                 so that by equation

                                                                                                 related         to   Li15
                                                                                                                                             21 Ei
                                                                                                                                 In the remaining
                                                                                                                                                          is    negatively

                                                                                                                                                                      models
     However the models are quite different                                                      the    relation between                     Es and Li cannot be
                                                                                                                                     more assumptions

     isolated
     in other respects                 such as the following                                     inferred without




     models isolatedfirm
           Implied          size of         the        market The                                     Turnover                 and        exploitation                Typical

                 firm collusive and Cournot                                                      textbook             presentations                of    the


     representing
            are most naturally interpreted as                                                                model             stress       the     firm's

                                                                                                                                                           monopsony
                                                                                                                                                                     physical




                                                                                                employee
                            a     particular               labor            market               separation                suggesting              that

     within a larger economy                            for two            reasons              power must be                    negatively             related        to




     sloping moving                                                                             suggestion
     First they               assume          a small number of                                                turnover By contrast this
     firms Second                 they assume upward                                                     is    misleading or incorrect for
             labor supply to                  the         market more                                   cost         and        search           models          in        which
    workers are drawn into employment as                                                        turnover             is   more or less endogenous                              In

     the

     the
            wage rises Because
             entire         economy               is
                                                        labor supply to
                                                        nearly vertical                         exploitation
                                                                                                moving cost
                                                                                                                           are
                                                                                                                               models
                                                                                                                                      negatively
                                                                                                                                                 turnover            and
                                                                                                                                                               correlated

     most of these additional workers must be


    contrast
                                                                                                across workers with varying moving costs
     drawn from other labor markets By                                                          in the        same market as mentioned                                 above
                  equilibrium                search             models              are         Across markets however                               the correlation


    representing
    more          naturally

                   an     economy or at
                            entire
                                       interpreted                    as
                                                                                least
                                                                                                can be positive holding
                                                                                                costs        constant           those
                                                                                                                                                    average moving
                                                                                                                                             markets that permit


    demographic
    the      labor market for an entire

                   group of workers                            because           they
                                                                                                wage
                                                                                                pay
                                                                                                              commitment
                                                                                                                 workers              the
                                                                                                                                            avoid        turnover            and
                                                                                                                                                                           wage



    models
                                                                                                         all                                     competitive

    assume a large number of                                    firms and a                     while          those           markets without                       commit



    moving exploiters
    fixed pool           of     labor In between                         are
                                                                                                   15         this    respect         search      models       echo        Pigou's
                                                                                                        In
           based on classic differentiation
                                                                                                 1924        p       534       view       that     the    small       masters
             costs          and efficiency                 wages            which               throughout           history     have      always been         the    worst

    can be interpreted as representing                                         either




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                                           Boal and              Ransom Monopsony                              in the Labor                   Market                                  97


      ment suffer inefficient turnover and pay                                                          4.2     Persistent          Wage            Dispersion

     low            wages          to        immobile                  workers                  In
                                                                                                             Under       competition                  equally        productive
     search models turnover and exploitation
                                                                                                        workers         at    equally          attractive          jobs        should
     are positively                     correlated               across          firms in
                                                                                                        earn     identical           wages               An    awkward              fact




                                                                                                        identical
     the same market because                                          equation             24
     implies that                 q tv L L            is       inversely             related
                                                                                                        is    that    often     workers              that     appear



     correlation   Dickens
                                                                                                                to     researchers                  are       paid        different
     to        tv 16 Across            markets             however                  the
                                                                                                        wages           See     for        example            William
                          is   not as clear                cut for example
                                                                                                               and Lawrence                    Katz 1987             But wages
     equations                    19       and        22          show          that       the
               G
     distributions of                      wages          Fw            or           tv are
                                                                                                        in    monopsonized                    markets need            not       equal



     exogenous central
                                                                                                        wages          in      other            markets              Moreover




     proportionate models
     stochastically                    decreasing                 in the
                                                                                                        wage     dispersion               within           markets              a
                                                   8 holding X0 and X1                                                                                                    is
                     breakup            rate
                                                                                                                feature        of    equilibrium                  search
     constant but are unaffected                                        by a
                         change           in all   three          parameters

                                                                                                        4.3    The Employer                    Size Wage




     market significant
               4        What Can Monopsony Explain
                                                                                                               Relationship

           Monopsony                    models            of     the         labor
                                                                                                             Numerous               studies           document
                   are      inherently               more               complicated
                                                                                                                correlations               between            wages        and the
                                             models What does this

     features explain
     than competitive
                                                                                                        size    of    the    firm or establishment                         that are
     complication                     buy What qualitative
                                                                                                        difficult       for     competitive                   models           to
                    of    the labor market can monopsony
                                                                                                                      C Brown                 and        J    Medoff            1989
     models               explain           easily         that         competitive
                                                                                                        Green           Machin                and          Manning             1992
     mnodelse xplain only awkwardly
                                                                                                        Some

                                                                                                        isolated
                                                                                                                     monopsony                models          cannot           explain

     4.1        Vacancies                                                                               them either            For example                    under        the



                                                                                                        differentiation
                                                                                                                 firm         model           or     classic



                                                                                                       correlated
           Under competition                              firms can hire                     all
                                                                                                                 size       and wages               are positively
     the workers they want at the going                                               wage
                                                                                                                 across       firms only              if    size   differences
     That firms sometimes report they cannot
                                                                                                       are      driven         mostly               by      shifts     in        MRP
               therefore              a    puzzle              for      competitive




     excess negatively
     is
                                                                                                       curves           rather            than           shifts      in        supply
     models                Under             monopsony                       persistent
                                                                                                       curves           Under            collusive            and         Cournot
    vacancies interpreted                                 as      measuring
                                                                                                       models          size    and wages                   should      be
                     demand                assuming                   MRP            slopes
                                                                                                                     correlated            across          markets             ceteris
     downward are                          easy      to        explain              Excess
                                                                                                       paribus          assuming              that       average      firm          size
     demand persists because                                    labor supply to
    the firmslopes upward                                  Archibald                 1954              concentration
                                                                                                       is    positively        correlated                  with


    For example                         Yett         1970             pp 371 75

    monopsony between
                                                                                                             However           efficiency wage                     and         search
                                           as evidence



                                                                                                       inverse
    cites           vacancies                                            of

      U            in    the          S market for nurses in the
                                                                                                       models          predict

                                                                                                                      size    and
                                                                                                                                         positive


                                                                                                                                         wages
                                                                                                                                                           correlations

                                                                                                                                                           Indeed          the
    late           1960s              Nevertheless                      how           much
                                                                                                                     elasticity          of    size        with     respect          to
    stock            should be               put in            firms reported
                                                                                                       wages           with       appropriate                 controlssee
    desires as opposed                               to    their actions                        is
                                                                                                       Section         5.3    below            is    exactly       the     rate      of
    open             to    debate             Sherwin Rosen                           1970
                                                                                                       exploitation                  Under                  efficiency wage
    pp 391 92



    respectively Under
    related      problems
                                                                                                       models          wages        should           most      closely         relate

                                                                                                       to    firm      size    assuming                  monitoring
          16   Evidence        that       turnover    rates           are inversely
                                                                                                                are      a firmlevel                 phenomenon
                to      firm   size    and    establishment                  size

                   are    given    in     Mary Miner              1977          p 30 and                       search         models                wages         should        most
    John        Pencavel          1970      p 59                                                       closely        relate        to     establishment               size          as




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     establishments
     suming that workers search over                                                                      possible                effects            first     an     increase         in the




     4.4        Effects             of    Minimum Wages
                                                                                                          unemployment
                                                                                                          rate           at       which
                                                                                                                              and second
                                                                                                                                                 workers
                                                                                                                                                              a
                                                                                                                                                                     exit

                                                                                                                                                                   decrease           in     the

                                                                                                          number of available jobs Neither effect
           A number

                                                                                                          provided
                                          of    recent         studies           find       that          occurs in the                       basic          homogeneous model



     effect always
     increases                      in    the       legal       minimum wage                              of       Burdett                  and Mortensen                    1989
     have no               effect              or possibly             a positive                                            the        minimum wage                    is    still    below
                     on             aggregate                employment                      see          MRP because                            unemployed                  workers

     David Card and Allan Krueger                                                1995        for                         accept             every job offer they receive
     a survey                  A positive               effect         in     particular                  However the                         first         effect    can occur with
     contradicts                      competitive                 models              but         is      heterogeneous                              workers          because              then

     compatible                      with        monopsony                     However                    some               workers                 will      have      reservations

     even            in        a         competitive                 labor          market                wages               above           the       lowest         offered         wage
     an        increase                  in the        minimum wage                         may           tVL           Their exit rate from unemployment
     increase                       employment                    at          particular                  can be              increased by a binding minimum




                                                                                                          because
    firms17                                                                                               wage               The second                 effect        can occur            with

                                                                                                                                                      MRP in particular
     differentiation
           The        collusive                 Cournot and classic                                       heterogeneity                       in




     classic occur
                                      models           all    predict          a positive                                    a minimum wage                            that       benefits

     effect           provided                  that    the      minimum wage                             high MRP workers                                    can      put      low MRP
     is    still     below               MRP However                        in   the                     workers out of work Both effects can
                differentiation                       model            the       market's                                     a                heterogeneous                  model In

                                                                                                         typically
                                                                                                                        in         fully

     labor           supply               is    less         elastic          than         each          that           case            a   rising          minimum wage
     firm's          labor            supply           because           an increase                                     first      increases                and then          decreases

     in        wages        at        other         firms      X         in      equation                employment                          just as          in   the isolated firm

         17 shifts                       each         firm's           labor          supply             model Burdett and Mortensen                                            1989 Zvi
     curve           leftward                  The      employment                       effect          Eckstein                   and         Kenneth               Wolpin           1990
                         minimum wage                                                                     Manning 1994 18

                increase
     of        the                                              is     governed               by


    exploitation
                increase
    market            labor              supply while                the      rate of                          There              is        some evidence                that         an
      E                              depends            on eachfirm's                    labor                               in the          minimum wage tends to

     employment
     minimum
    supply
                    e
                      It    follows

                                            with
                                                that the

                                                       respect
                                                                     local

                                                                        to     the                       new minimum i
                                                                                                                             the        wages          of     workers above the
                                                                                                                                                            to shift   up the          entire




             models
                   elasticity


                     wage            will      be     less      than          1E         while           wage            distribution                  Jean Grossman                  1983
    the         maximum                   percent        wage          increase             that         While this can occur in competitive
    does           not     decrease              employment                         greater                             workers at different wage levels are




    posthire models
                                                                               is                                  if


    than           E Finally the                        movingcost                    model              heterogeneous                          and gross              substitutes             it

    predicts              a reduction                  in turnover                  as                   always occurs in equilibrium search
                   exploitation                  is    constrained                  by      the                     even           if       workers            are     homogeneous
    minimum wage                                                                                              Burdett and Mortensen                                1989

    sometimes
    minimum
          Equilibrium                       search           models           can
                                                                                                                    Wage Discrimination


    increase African
                                                                                                         4.5
                     predict              a positive            effect           of

                     wages                In     these          models                an                       Many studies                          find     that     women
                          in          the        minimum                    wage            can                     Americans                        Hispanics               and       other
    influence               total           employment                 through              two          groups               earn less than white                           men in the
                                                                                                         US labor market even after controlling
          17
               Suppose              firms are heterogeneous                   with       regard
                                                                                                         for        observed                  productivity              differentials
    to    technology                Firms       employing         relatively          few    low

    skilled        workers               may    actually       expand          output       and
    employment                 if    product        prices     rise    sufficiently          see              18
                                                                                                                   The       studies         cited    all    assume    the    output       price
    Walter         Oi 1983               pp 76 77                                                        is   fixed




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                                             Boal and           Ransom MonoDsonu                                    in the Labor        Market                               99


     These             differentials                   can           be          explained
                                                                                                            competition
                                                                                                                      substantially enough               from

     discrimination
     by      third           degree                monopsony                   wage                                   to    justify    abandoning            competitive

                                                                                                                                 more complicated                   and




                                                                deviate
                                  if    the        labor       supply               of    these             models         for                                              less

     groups to               individual               firms          can         be      shown              tractable monopsony                   models
     to    be    less       elastic           than     the      labor            supply of                       To    answer        this    question          one    would




                                                                                                            markets
     white         men                 The         literature               has           given             first     like to    know the          size of     E the rate
     some         attention                   to    the       case          of      women                   of      exploitation        in    monopsonized




                                                                                                            labor
     Empirical                studies                 usually               find              that                    Is it    as large as say union relative
     women's                labor             supply          is      more               elastic

                                                                                                            distortions
                                                                                                            wage effects or marginal tax rates




                                                                                                            labor
     than        men's            at     the        level       of        the       market                            that also       drive wedges           between
     but        some         researchers                     argue             informally                           supply and labor               demand Second
     that    this      relationship                   reverses              at   the       level            how widespread             is   monopsony Is the
     of    the    individual                  firm For example                                 this                 market as a whole              or large parts of          it

                                                                                                                                                                            E
                                                                                                            positive
     might        occur            under            collusive             or        Cournot                 characterized            by sizeable         values       for

     models            if     markets                 for      women's                    labor             Third for policy purposes are the
     were        more             highly           concentrated                       on       the                    employment             effects      of        minimum
     employer                side             It    might            occur               under              wages in the         isolated         firm model likely to
     search        models               if    women            suffered                  from a             carry over to the               real    world       recall      the

     higher        exogenous                   quit       rate        6 and lower                           equivocal          implications         of   search models

     offer        arrival               rates          X0 k1                     Manning                    with       heterogeneity              for    example             In
     1993                                                                                                   other words             are instances               low wages


                                                                                                            monopsony
                                                                                                                                                          of

          There         is    also           some         indirect               empirical                  in the economy primarily due to

     evidence                Manning                   1993               shows               that                    or to low productivity This section

     both       wages             and         employment                    of        women                 surveys various approaches to measuring
                                                                Kingdom                                     E interprets the results reported in the

     minimum empirical
     increased               in        the     United                                         with

     the     implementation                           of      the          Equal               Pay          literature         and    briefly      discusses        the

     Act        this        might            be     interpreted                  as                                     literature      on    effects      of minimum

                wage         legislation               for     women                  Green                 wages
     Machin            and             Manning                1992             show           that
                                                                                                            5.1     Direct Measurement of Wage
     the     employer                   size wage               relationship
                                                                                                                    and MRP
                                                                                                    is



     stronger          for        women             than        for       men            in    the


     disparities
     UK There                 is        evidence              that        pay                                     All the      models presented in Section 2


     strongest
            between                men and women                            are                             above      imply        MRP exceeds            w assuming

                                                                                                           compares
            in small          or highly                concentrated                       labor             firms maximize profits                  An omnibus test


                                                                                                           perhaps
     markets                Robert                 Frank             1978             Rudolf                for     monopsony           power        therefore

     Winter Ebmer                       1995                                                                          estimated        values of the           MRP
                                                                                                                      from a production                  function         with

      5                                                                                                    actual      wages In principle                 this approach




     markets monopsony
            Measuring the Rate                               of Exploitation
                                                                                                            should         detect     the    presence          of

          The     case        for       monopsony                    in labor                                         power though           it   would      not identify


            encounters
             seems           almost compelling                                 The        basic            its    source In practice this approach
     idea

     the
            estimating
             of

            short
                   upward sloping
                            run surely                fits
                                                             supply

                                                              the
                                                                               at   least


                                                                          experiences
                                                                                                in                          the typical problems of
                                                                                                                    production         functions          measurement
     of   employers                as they            attempt             to     set     wage              of     inputs       and outputs           functional           form



    markets unobserved
    policies            Moreover                      monopsony                     models                 questions endogeneity                   of inputs and
     can    explain           some             features              of    labor                                              inputs correlated          with observed

             not       easily           explained              by competitive                              inputs The measurement of outputs                              may
     models            But do                actual       labor           markets                          be particularly difficult                in public or pri




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          vate         service

          nursing Moreover the wage
                                           sectors                 eg        education
                                                                                 or rather            everyone
                                                                                                      topic       is

                                                                                                                 who
                                                                                                                         by
                                                                                                                            has
                                                                                                                                 Scully

                                                                                                                                      published
                                                                                                                                               1974
                                                                                                                                                       on
                                                                                                                                                            Almost
                                                                                                                                                             the       topic    has

          total       compensation                       must be                 measured             adopted               some        version       of    his     approach

          accurately            in levels               A mere wage index                             Scully       tests         monopsony            by estimating             the




          human
          is    useless             In      particular the                       measured             MRP of individual                       players       and comparing
          wage          must              include            benefits              and          the   it    to    pay         so      the    crux     of    the    method         is

          worker's share of any investment                                             in             estimation              of      MRP
                     capital 19                                                                             The        essential            assumption            of     Scully's




          monopsony
                This



          analyzing
                         strategy

                     has been              used
                                                 for     measuring
                                                       extensively               in
                                                                                                      model
                                                                                                      when
                                                                                                                    is


                                                                                                                   the
                                                                                                                            that

                                                                                                                              team
                                                                                                                                      a team's revenues
                                                                                                                                            wins     more         games
                                                                                                                                                                        increase

                                                                                                                                                                                and
                  the    market             for professional                       athletes           the        performance                 of    players        contributes

          Professional                    sports         leagues              in       North                 team           revenues          only     by    changing           the


                                                                                                      estimated
                                                                                                      to

          America            are          organized                with      distinctive              team's        winning             percentage            MRP is
          monopsonistic                     characteristics                        such          as                via a         two step          process        In the       first




          agreements
          mobility
          the        draft for               new        players             and                       step          team              revenues             are      regressed

                       between              teams            that      restrict                       against          winning              percentage            along        with

                of    players within                   the     league                                 other       team specific                factors       including          the


          professional
               Almost         all

                       baseball
                                      the

                                             The
                                                 studies

                                                        interest
                                                                   examine
                                                                            in     baseball
                                                                                                      population

                                                                                                      which         the
                                                                                                                                 of

                                                                                                                                 team
                                                                                                                                       the     metropolitan

                                                                                                                                             resides        a measure
                                                                                                                                                                         area     in

                                                                                                                                                                                  of




          monopsonistic
          is    motivated                 partly       by      the        explicit                         fan   interest              in    the    area whether                the

                                    organization                    of     the        league          team belongs                    to the       National       League         an


          individual
          Until       1976
                          teams
                                    all    players

                                            by     the
                                                             were

                                                                   reserve
                                                                          bound

                                                                                   clause
                                                                                           to         indicator

                                                                                                      fraction           of
                                                                                                                             for

                                                                                                                                 the
                                                                                                                                        old stadiums
                                                                                                                                            team's    players
                                                                                                                                                                       and

                                                                                                                                                                       that
                                                                                                                                                                                the

                                                                                                                                                                                are




                      increase
          which                                  teams         from competing                         black         Using             data     from        the      1968       and


          empirical
                       prohibited

          for players20 Baseball                             lends        itself      to              1969 seasons                    Scully       estimates      that an



          information   analysis           because            detailed                                                 of     one      percentage            point       in     the


          individual
                  on

                  players
                         pay and
                                      is
                                             perforinance

                                             readily               available
                                                                            of


                                                                                           Also
                                                                                                      team's

                                                                                                      revenues
                                                                                                                    winning

                                                                                                                            by
                                                                                                                                        percentage           will      increase



          baseball         is        much             more             individualistic

          than       other      sports            so    it    is    not     difficult            to




          performance
          isolate       the

                        from
                                effect


                                          that
                                                 of

                                                  of
                                                       one player's

                                                         other           members                 of

          the    team
               The      most              influential               paper             on        the
10




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                                    Boal and    Ransom Monopsony       in the   Labor Market   101


               Thus    the    estimated       marginal     product

          of   a   hitter    in   Scully's   model   is   92   times
500




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                Incidentally      the most successful               cartel




           Athletic
           in    all    of    sports    is   not       a   professional

           league but the National Collegiate

                       Association       NCAA              The    NCAA
           strictly      limits   the    amount that member
           colleges      and    universities can            pay to their
           players           See Gary Becker               1985     for an

           interesting         discussion          Robert         Brown
            1993        estimates       that     the       annual   MRP
           of    a premium             college     football       player
           is    approximately
15




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                                   Boal and            Ransom Monopsony             in the Labor            Market                             103


          supply is not perfectly                elastic     in the    long   studies      of   the     market for public school
          run                                                                 teachers

             No        concentration             measure        can      be        A typical study is Luizer and Thornton
          computed         without defining              the    relevant       1986         which       analyzes         data        from 266



          arguing
          market Most              studies        of   labor markets          school districts in            15 metropolitan areas

          use metropolitan areas or counties                                  of Pennsylvania              for    the    1978 79           school

                 that    worker mobility is limited to a                      year Districts are included in the                             labor
          commuting radius Robert Bunting 1962
          James         Luizer      and         Robert         Thornton       nonresident
                                                                              market of an area if
                                                                                      teachers        of    the
                                                                                                                  most of the
                                                                                                                  district     lived       within
          1986 However this market definition
                                                                              metropolitan
                                                                              estimate
                                                                              15 miles of the central                city of the

          may be too small given the frequency of                                          area Luizer and Thornton
          worker        relocation        in the       United      States                 regression        models        to    explain the
          and     recalling      that     the     mobility of only            scheduled         salaries of teachers                 at several

          the marginal worker is relevant                                     levels      of education        and experience                 using
            Although in principle concentration                          is   various       indexes         to    measure            employer
          an outcome           of the    model and thus is not                concentration             including        the    Herfindahl




                                                                              number
          exogenous         one could           argue that at least           index       and the          one firm       and four firm


          concentration
                                                                              district
          in public sector         labor markets                              concentration           ratios      based on           the


          predeterminedC
                  is   largely     determined by                                     of    teachers        employed            by each

                       political   boundaries            However                       Variables used             to identify          shifts in

          might still      be correlated          with unobserved             labor       supply and demand                    for    teachers

          elements        of    X and       Y For example X                   are number           of      students      in    the     district

          should       include      wages         in    related      labor    personal       income         per student           of    district

          markets and the
          that    tend     to be
                                        cost of

                                        closely
                                                   living variables

                                                   correlated          with   percentage
                                                                              residents property tax rate and the
                                                                                           of   the   district's        population living
          population and population density in the                            in urban areas

          labor market but which                   in turn      tend     to        Luizer and Thornton find                     statistically


          be closely correlated             with       C SimilarlyY           significant       monopsony               effects      only      for

          should include determinants of                      MRP but         teachers      with bachelor           degrees          at five    or
          the danger of omitted                 MRP shifters is               ten    years of         experience          For a teacher




                                                                              moving
                                                                         if


          anything        at least as       large as for          supply      with five years experience and a bachelor
          shifters       For example               a labor market             degree       their estimates          predict that

         with      more         employers              and    therefore             from the most concentrated                          market




          output depending
          lower concentration               is    likely     to be     one    to    the   least   concentrated            market would
         with greater demand both for final                                   increase salary by              400 to          500

                 approximately
                 and for workers
            Several        researchers            have        compared
                                                                                    on the concentration
                                                                                                  three percent
                                                                                                                        index used
                                                                                                                          of   the average
          market concentration               and wages            to   test   teacher       salary for        Pennsylvania              in    that

          for    monopsony power in the market for                            year
         public        school    teachers          School      districts

         are candidates            as    monopsonists          because
         of their natural geographical                       separation
          Some have         argued        that     school teachers

         are also more susceptible                     to exploitation

         because        a high proportion                are married
         women who are                  tied to their husbands
         jobs limiting their mobility Luizer and
         Thornton          1986 and Beck                1993 survey
1




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         logarithm of the average teacher's salary                             large   statistically         significant      effect     of


         in a district        and as explanatory variables                     concentration         The     authors   estimate        that

         the    average         experience         and      education          the annual     salary    of    a registered     nurse     in


         characteristics         of

         along with measures of the
                                       the    district's     teachers
                                                    district's         size
                                                                               concentrated
                                                                               Lynchburg
                                                                                       city   in
                                                                                                   Virginia

                                                                                                   their
                                                                                                                the

                                                                                                             study
                                                                                                                       most
                                                                                                                      would    increase

         urban        nature       racial        composition             tax   by


         composition
         base income            of its    residents sex


         district's  and union membership of the

                     teachers      and dummy variables for
         years       The     Herfindahl           index based            on
         number of teachers                  employed        measures

         employer concentration
              Beck    finds     a small monopsony effect                  in

         his analysis of         all   districts splitting              two
         districts into       four equal sized districts in a
         market would increase salaries by slightly

         more than           one       percent      However              he
         finds       quite    different       results      for        urban
         and     rural       districts       In   rural districts




         actually
         where monopsony might be thought                              of as

         more likely higher concentration                        is

                associated with           higher salaries




         numerous
              Applications of this empirical strategy
         to   the market for nurses are also

                 and     sometimes           studies       find       large

         impacts on salaries The study by Charles
         Link and John Landon                     1976      is   typical


         hospitals
         It   analyzes survey
                in    1973
                                         data from 317
                                The dependent              variable       is




         registered
         the hospital's starting salary for a


         experience nurse with no previous               nursing


         regression      Salaries

                         model
                                         are explained

                                       using
                                                                 in a




         nonprofit
                                                  variables            that

         indicate      the type of control             private




         index
                                 for profit
         Administration
                      private                      Veteran's
                              other average hourly wage
         in manufacturing in the                  city     a price
                for    the   city indicators of              nonwage
        benefits       associated        with the hospital and
         a measure of hospital concentration the

          entropy of the number of hospital beds
        in    the     city 23    Link      and    Landon          find    a
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                                   Boal and            Ransom Monopsony                              in the Labor                      Market                                        105




     labor
     concentration
     nurses It           seems unlikely that                                                                       dynamics which                            recent       studies




                                                                             laborsupply
             of hospitals            would result in                                       have suggested                        are critical 25
     monopsonization      of the       market for unskilled                                      In            a     widely            cited         paper            Sullivan

         Furthermore Killard Adamache and                                                   1989                   estimates           equation                 17       for         the


     population
     Frank Sloan 1982 find that when                                                       supply of nurses to                               individual             hospitals




                                                                                           thousand
                 density        of     the market             is    included               Sullivan's                   data     consist           of        nursing wages
     in regression           models the apparent effect                                    and employment levels                                     at several

     of     employer            concentration                 disappears                     U                      S     hospitals              observed             over           six



     phenomenon
     college
     Penrod             1995       reports the
                        when analyzing
                                                                same
                                                       salaries of
                                                                                           years                To explore dynamics
                                                                                                              the data at one year
                                                                                           Sullivan differences
                                                                                                                                                                 informally


                and       university             professors                  Barry         two year and three year intervals before
     Hirsch and Edward                      Schumacher                    1995             estimation                     Supply            is    substantially                more



     Current
     concentration
     also    fail    to    find      an     effect       of                                elastic              in the          long run than in the                           short


                     descending
     compare intervals
             on nurses hourly earnings                                  in                 run the estimated

                     intervals
                                                                                                                                        inverse              elasticities

                Population           Survey data They                                                                from about 0.75                     at    one year
                nursing wages to wages                             of    similar                                to    about 0.26 at three year




     nonmetropolitan figures
     workers in the                  Metropolitan                  Statistical                            However the                   rate of exploitation Ei




                     cannot
     Area        MSA or state                    for                                       is    probably less than either of these

            areas Their approach probably does                                                             The long run inverse                              elasticity




                     suppose
     a better job of controlling for differences                                                     be computed                       without a formal model
     in cost of living between                     markets                                 of dynamics but                             it    is    plausible             to

                                                                                                           that      it    is   close       to    zero 26 Suppose it

                                                                                           Sullivan's
     5.3    Estimation of Elasticity of Labor
                                                                                           is    zero and suppose                                 further        that



                                                                                           represents
            Supply to Individual Firm
                                                                                                               one year estimate                        of     0.75
          All    models           except         collusion              require                            the short run inverse elasticity and


     individual
     that       perceived            labor supply to an                                    that the                  dynamic model of equation                                       5

                                                                                           percent
                 firm be        less than perfectly                      elastic           applies By equation                                   10 Ei would equal
     at    least    in    the     short      run A number of                               0.04           if    hospitals discount                           rate   is    5



    inverse
     studies        attempt          to    measure monopsony                                               about 0.07             if   the        discount          rate is          10
     power         by     estimating            the      perceived                         percent                   and about              0.13        if    the discount


    individual  labor supply function                    to     an                         rate           is    20 percent              While Sullivan shows




    inverse correlated
            firm Assuming the                         individual             firm         that             his       estimates               are        robust           to      the

     maximizes profits                    the     value         of the




    obvious
                elasticity        of      labor supply provides                                 25
                                                                                                     If    changes         in employment             are negatively
     an estimate of Ei Perhaps the most                                                                                         firmand tenure
                                                                                                               with average tenure at a
            approach         is   to estimate            some form of                     is    positively                 wages then estimates
                                                                                                                     correlated with




     employment
                                                                                                                                      upwards at
       17
     equation                   relating wages                to
                                                                                          of the supply elasticity will he biased

                                                                                          least for the short run Sullivan       1989 pp 2159
                using firmlevel data 24 Panel data                                        60 acknowledges this problem Boal 1995 avoids
                                                                                          it by using piece rate wages
     are preferable to cross sections because
                                                                                                     the true labor supply function is a loglinear

                                                                                                                                   5
                                                                                             26 If
    they allow the                researcher           to     control         for
                                                                                          version of equation          nwt       PI     321n Lt
     firm heterogeneity                                as       important

                                                                                          elasticity
                                            Just
                                                                                            331n Lt1th en it can be shown that the short run
    panel data            facilitate       estimation of                                  inverse elasticity is P2 the one period inverse

                                                                                            2      is    1
                                                                                                               f 342 and the two periodinverse
                                                                                                               S2 1
    presumably twoyear
                                                                                          elasticity            is              f3 f212                                  see    Boal
      24Instrumental            variables estimation               is                     1995            p 524 Fitting these expressions                                to    all    of

           necessary      because employment and wages                         are        Sullivan's full                 sample estimates               of    one year

               respectively
    determined simultaneously                   The
                                             1989
                                                       studies       described                            and       three year inverse              elasticities




               elasticity
    below by Daniel          Sullivan                    Korinna Hansen                                   by nonlinear least squares gives P2                                  0.754

     1992 and Boal              1995       use    exogenous             measures          and P3                    0.766       implying         a long run inverse

    of output demand            as instruments                                                        of                  33      0.012
                                                                                                               P2




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     evidence antitrust
     choice      of specification                 there           is     some                     few could                    bias       the         results           The           old




     estimates setting
                  that        they         are        sensitive              to       the                      question               of        appropriate                 market               size




     included approach
     choice       of     data set              Hansen               1992                          reappears                    in     this       new            econometric

              nearly identical specifications                                        on a                           Perhaps                 the            most           sensible




     oneyear aggregated
     California          data set          Sullivan's data                     set                                       at    least        for        exploratory                    work             is


                  the        entire        U S but                  finds                         to     introduce                   separate                  variables                  for

              inverse              elasticities          generally                   less                                     nearby firms                      and         aggregated

     than 0.05                                                                                    farther away                       firms           and        let     their             relative



     econometric
          Boal      1995            applies           a similar                                   coefficients                      determine                    the        appropriate


     coalmining   method
                    data
                                      to

                               from the
                                            West
                                                       early
                                                             Virginia

                                                                         twentieth
                                                                                                  market size 27

                                                                                                       Crosssectional                            data           sets      on     firms            are

     century           Estimating a log linear version                                            an attractive                      alternative                to     timeseries                  or

          equation            5 Boal computes short run
     depending
     of                                                                                           panel             data            sets        because                they           typically




     longrun
     inverse        elasticities            of    0.15            to     0.53                     contain                more         observations                        with            greater

                    on specification However                                                      variation               in       L Unfortunately                             controlling

             inverse                                    are            essentially                                                                              and        dynamics


                                                                                                  framework
                               elasticities                                                       for     firm            heterogeneity                                                            is

     zero implying                  that    Ei are at most 0.03                                   more         difficult              in        a cross sectional
     0.05     or 0.09 using                    discount                rates of           5                     A simple dynamic structure                                                 can be


     respectively
     percent           10     percent            or    20      percent                            estimated                   if     data        on        employment                       flows




     because otherwise
                              Moreover                  Boal              believes                 hires            and quits                or the             previous              period's

     these    estimates               are biased                  upward                          employment                        level        are        available                 but

               they          are      based           on county level                                                estimates                  of    the       long run                  inverse

     rather than firmlevel or mine level data                                                     elasticity              are        likely           to    be biased                     upward

          Several                                            regarding the                                                                                                                  more


     represent crosssectional
                         practical issues                                                         slightly                because                large           firms           are

     specification            of    the covariates that                                           likely            to        have         grown                recently 28                     One
             other          firms actions                    Xl have                 not          control            that           may not            be       needed               in




     include invalid
     been     cleanly              resolved           in      these            panel                                          studies            is    Xl the                  actions             of

     studies The              first      issue    is    whether                to                 other         firms Omission                          of X              is     surely

              other           firms wages                    Bertrand or                                       when                 using            time series                 or         panel




     devise However
     employment                levels          Cournot or                      some               data               Indeed                     Boal             1993            found             it

     other actions             It     is   surely possible                    to                  changed                 the         results              noticeably



             crosssectional
             a formal test                            the         appropriate                                         may                                  when


     estimates
                                            for                                                                it                    be     valid                         using

     equilibrium concept                       perhaps using                                                              data        for        a single              labor              market
       MRP     of                        but     the     power               of      any
                                                 low and none has

    Sullivan influence
     such test      is      likely to be
                                                                                                    27This           approach              is    used          by    Boal        1993            who
    yet    been     reported Studies to date                                                     finds     that nearby                firms do         indeed          exert greater




    because
                                                                                                                than          distant       firms However                      the    estimates
            1989 Hansen 1992 Boal 1995 have
                                                                                                 of the     own          inverse          elasticities          are not         substantially
     been     able       to    sidestep          this        question



    sensitive
                                                                                                 affected           in his case           by allowing               separate         effects




              employment
              their results                were not very                                                 For example                  suppose              a    log    inear         version       of




    aggregate standard
                                                                                                    28



            to it      but future              studies            may not be                     equation             5 were              estimated             omitting         lagged

                                                                                                                                                                               9 and
              expectation
                                                                                                                         Application             of    equation
    so lucky The               second          issue         is    how to                                 omitted variable                      analysis            shows       that       the

                  other firms actions

              elasticity
                                                                    If     a given                                   of       the    estimated              coefficient              of    current

    firm interacts                 with     many others                      in the              employment                   would        equal       not      the    longrun
                                                                                                          SR                  1 but       rather           SR         p        1 where p is
    same market the                    effect     of each                firm may
                                                                                                 the     serial          correlation             in        employment                     Jonathan
    be      impossible              to     estimate                separately
                                                                                                                                    p 153 table 6.7 estimates

    aggregated
                                                                                                 Leonard             1987                                                                  p to be
    Other firms actions must first                                     be                        about      0.97          Estimates             of     y1 given           by     Boal           1995
              But how many other firms should                                                    and     implied              by    Sullivan          1989           range       from 0.2          to


    be    included             Including too many or too                                         0.8      Boal           1995        p 524




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                                         Boal and             Ransom Monopsony                              in the Labor                  Market                           107




     essentially
     firm is        assuming
     under the assumption that the individual
                          atomistic           for       then         X       is
                                                                                                       using       data on quits and hires and
                                                                                                                      a discount            rate of       5 percent        the




     Bertrand estimated
                    the same for all firms in the market                                              authors arrive at estimates of Ei for each
     whether                   the     solution          concept                  is                  firm in          their         sample The              mean
                        Cournot or some other symmetric                                                            Ei is 0.15 but presumably would


     standard
     probably
     notion This atomistic assumption

                    for

                   less
                               search models although
                           reasonable for models based on
                                                                                  is                  be     much
                                                                                                      correction
                                                                                                                           smaller without
                                                                                                                           for size related amenities
                                                                                                                                                           the     authors



                                                                                                      5.4     Wages and Mobility


     Woodland
     geographic differentiation
              Machin Manning and Stephen                                                                   Ransom               1993            estimates         indirectly



     crosssectional professors
                        1993         estimate           Ei    using           a                       the rate of exploitation of college
                               sample         of    residential                    homes                      in the        United             States In his model
     for the elderly in England                                  The          estimate                employers             enjoy monopsony                  power         due


     regressions
                                                                                                      employer
     of       E           obtained          from least squares                                        to    geographical              dispersion so employees
                               of     wages        on employment                              is      must incur a cost to move from one
     roughly 0.04 an estimate typical of other                                                                     to     another              The    national      market
     data sets                 C Brown and J Medoff 1989
                                                                                                      university
                                                                                                      for professors                 is   competitive a




     correct
     unobserved accepts
     pp 1034 35                       1038 1040 29 The paper's                                               must pay the                  market wage to hire a




                location
     distinctive                 feature      is   its       attempt to                               professor However once a professor
                   this    value        for     differences                  in                                  a contract               and moves to            the




                another
                        worker quality and in hedonic job                                                     of      a   specific          university he            or she

     amenities                 or disamenities associated with                                        must pay moving costs                          to    leave    for

     firm size
     authors    universities     Addressing
                           finding          that
                                                         the

                                                         output
                                                                     former
                                                                             price
                                                                                         the
                                                                                               a
                                                                                                                 university

                                                                                                               hire
                                                                                                                                          Thus each year
                                                                                                                          labor in two different markets


     controlling
     measure of worker quality after                                                                  one of which              is    competitive           the    external



     associated    for other inputs                is

                   with firm size conclude that worker
                                                         positively                                   market and the other
                                                                                                      the internal market
                                                                                                                                                          monopsonized


     quality is                positively         associated                with firm                      The     internal           market         is   monopsonistic


     correction
     size requiring

                   Addressing
                                       a small downward
                                            the    latter             the       authors
                                                                                                      because

                                                                                                      fraction of
                                                                                                                      the       employer can keep

                                                                                                                           current employees by offering
                                                                                                                                                                   a higher


                                                                                                      a higher             wage
     proportionately
     find that quits rise less                           than                                                                             in    contract          renewals
                   with        firm size after controlling                                for         However the employer minimizes costs
     wages               and         conclude           that         positive            job          by offering current employees                               less   than

     amenities                 exist    at larger            firms           a typical                the     market wage In Ransom's                               model
     finding            but a debatable                  conclusion                      The         workers              are    further          differentiated           by

     calculated
     authors propose

                         as      the
                                         a positive

                                         percentage
                                                              correction

                                                                     decrease                 in
                                                                                                      costs

                                                                                                     with     the
                                                                                                                 of    moving
                                                                                                                          highest
                                                                                                                                           In

                                                                                                                                           moving
                                                                                                                                                 equilibrium
                                                                                                                                                          costs     will
                                                                                                                                                                         those

                                                                                                                                                                           be


     propensity controlling
     wages required to keep

               constant as employment rises by one
                                                         the quit                                    paid less and will

                                                                                                      salaries will
                                                                                                                                           move less often Thus
                                                                                                                                     with seniority After




     sample
                                                                                                                            fall

     percent This latter correction                                         turns out                                 for       total       teaching        experience
     to be         substantial about                      0.19         at the                         education           level           and other
               mean of employment After further                                                      productivityrelated
                                                                                                         characteristics Ransom finds
     adjustment for short run supply response                                                        maximum                seniority penalties of about                    5
                                                                                                     to    15 percent            in three national            surveys of
                                                                                                                          faculty and for faculty at the
         29
              Whether            ordinary   least squares             regressions             of     university
    wages          on   employment          estimate            LR    consistently            is
                                                                                                      University of             Arizona
    simultaneously
    debatable

                    with
                          If     employment
                               wages     presumably
                                                   is    determined

                                                              the     OLS         estimate
                                                                                                          According              Ransom's model movers
                                                                                                                                to

    of        LR   is   biased       downward                                                        are paid the               market wage which might




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     seniority because
     be    thought

             penalty
                               of

                                    of
                                       as     MRP Thus
                                              long tenure
                                                                            the

                                                                             employees
                                                                                                           average

                                                                                                                        wages
                                                                                                                              rate      of

                                                                                                                                       are
                                                                                                                                                 exploitation

                                                                                                                                                 dispersed              below
                                                                                                                                                                              This        is

                                                                                                                                                                                     MRP in
     measures
     seniority
                             their

                            penalties
                                                 exploitation

                                                    correspond
                                                                                Ransom's
                                                                                 to    values
                                                                                                          attributed
                                                                                                           this



                                                                                                          measurement
                                                                                                                      model Any wage
                                                                                                                                to     heterogeneity
                                                                                                                                                               dispersion

                                                                                                                                                                         or
                                                                                                                                                                                         not



     of    E      of    5     to         18       percent              However                    as                     error         is    effectively                 attributed               to




     because maximum
     Black and               Loewenstein                       1991            point         out           monopsony

     movers            may be            paid        more than                  MRP                              Two         recent          papers            estimate              Burdett

                                                 expect         to     exploit             them           and         Mortensen's                  model             applying


     estimates
                  universities

           the     future              Therefore                     Ransom's                                           likelihood                methods               to    panel            data




                                                                                                          Kiefer
     in




                                                                                                          heterogeneity
                       should                 be       considered                       upper             sets        on workers                 and including




                                                                                                          estimate
     bounds                                                                                                             to    different            degrees              Nicholas

                                                                                                                   and         George             Neumann                     1993
             Structural Estimation                                   Using
                                                                                                                                                                             US
     5.5
                                                                                                                             the       model              using                               data
            Equilibrium Search Model



     Burdett
                                                                                                          permitting                 the         parameters                  to      vary         by

          The                                                        model                                            and education                                  Gerard van den


     monopsony
                   equilibrium                     search                             of                  race                                         level

                and         Mortensen                  1989            implies                            Berg and                  Geert         Ridder             1993           estimate



     diseconomies of
                        as

                            scale
                                  a consequence
                                            in     hiring
                                                                       of

                                                                     workers                The           Netherlands
                                                                                                          the      model using
                                                                                                                         permitting
                                                                                                                                                  data

                                                                                                                                                  the
                                                                                                                                                              from The
                                                                                                                                                              parameters              to       vary



     inversely
     average

            6 e  education
                       rate

                       on     the
                                   of       exploitation

                                            ratio       X1
                                                                       depends
                                                                        i             on     the
                                                                                                          by occupation
                                                                                                                      level         assuming
                                                                                                                                            category             age and
                                                                                                                                                          measurement                      error

     rate at

     offers      unobserved
                   which


                 parameter
                   from
                                       employed
                                    other            employers
                                                               workers                receive

                                                                                      relative
                                                                                                          on     wages              and permitting
                                                                                                                                heterogeneity                    in
                                                                                                                                                                      additional

                                                                                                                                                                        the         MRP

     exogenously heterogeneity
     to    the     rate           at     which            job        matches                                                   Allowing                for     greater


     Mortensen's        break            up        Burdett            and                                               apparently                yields        lower             estimated



     predicting  model

                   the
                                  is


                              entire
                                         extremely

                                                 wage
                                                                 powerful

                                                           distribution                     over
                                                                                                          average             rates

                                                                                                          Berg and Ridder's estimates
                                                                                                                                            of     exploitation

                                                                                                                                                                         of
                                                                                                                                                                                    van

                                                                                                                                                                                  average
                                                                                                                                                                                                den

                                                                                                                                                                                                  E
     firms        or workers                       transition               rates           from          are roughly                0.13        to     0.15         whereas             Kiefer

     unemployment                        to      employment                     and from                  and Neuman's                      estimates            are three               to    five




     unemployment
                                                                                                          employer
     one     employer                  to     another            the                                      times         higher30                 Nevertheless                     both         sets

                 rate        of    workers                and        the        employer                  of     estimates             are        much          larger            than

     size wage               relationship                      all     from            just        a                         size wage                 effects          estimated                 in

     few        parameters                       These         parameters                    are          earlier        research                these        measure              the     same
     therefore              easily          overidentified                     in     typical             quantity             according               to equation                  21         For




                                                                                                          average
     panel       data        sets      on workers                                                         example               estimates               in     C Brown                   and      J


                                                                                                          suspects
          However                 an obvious              difficulty                  for    this         Medoff              1989 pp 1304 05                            imply an
     model         concerns                   the    shape            of        the        wage                         E of roughly 0.01                       to    0.03          One
     distribution                  Differentiation                         of         18          or                    that        even         the      method             of     van        den
      21 shows
     either
                             that the

                  firms or workers
                                                   density

                                                          is
                                                                     of wages

                                                                increasing
                                                                                            over

                                                                                            in    w       sufficient
                                                                                                          Berg         and         Ridder

                                                                                                                        heterogeneity
                                                                                                                                                  does

                                                                                                                                                          and
                                                                                                                                                               not       permit

                                                                                                                                                                      that          the        true

     in    this    model                and         therefore               is      skewed                rate     of    exploitation                  lies    between              0.03       and
     extremely                negatively                   Because                     actual             0.13




                                                                                                          Average
     wage        distributions                     tend        to     be       positively
                                                                                                            30   The         differences          in    estimates            might       also     be
     skewed            empirical                 implementations                           must




     fitting                                                                                              calculated
                                                                                                          due    to    differences          in the       data    sets        of   course
     include           heterogeneity                      or         measurement                                   rates            exploitation         reported        here       are




     error
                                                                                                                               of

                                                                                                                                                                                    MRP

     ignoring
     error        or both                to       have     any hope                    of                          by     inserting         estimated           values                          and
                                                                                                                                                                             e over Fw
                                                                                                                                                                              for


             actual          wage             data        Moreover                                        the    expected          value    of   w over firms            i

                                                                                                                                       3
                                                                                                                                                                G w would
                                                                                                          into     equation                      Using        instead        the     expected
            heterogeneity                        and      measurement                                    value     over       workers        i   e over                                   yield    a

           is   likely        to       bias       upward             the     estimated                    slightly      smaller      rate of exploitation




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                                      Boal and                 Ransom Monopsony                                 in the    Labor Market                                                        109


                                                                                                                                                                               minimum
     heterogeneity
           The     apparent            importance                      of                               to    become unemployed                                as the

        MRP      in                   implies             that         a     nontrivial                 wage       rises        even               at        low        levels    Thus
     minimum               wage           is        likely         to         eliminate                 negative         estimates                 of        EApwdo           not       refute

     jobs        This      is    because                 a minimum                      wage            monopsony               and       positive                 estimates              after



     significant
            high        enough         to                   wages                      a                taking      reciprocals                    are                             be    much



     Indeed interest
     set                                       raise                          for                                                                            likely       to

                        fraction          of     workers                is       likely         to      greater         than    E
     exceed         the       MRP          of       some           of        them                            Of course           estimates                    of    LMmV are of
                 van       den Berg and Ridder                                    1993          p                  in                    own            right        as a guide




     exceed
                                                                                                                          their                                                                   to

     24      conclude            that       a 25           percent               increase               policy         But even           if       the       labor       market were

     in    the     existing       minimum wage would                                                    entirely         monopsonized                          LMXW is             likely         to


     individuals
              the

                      in
                        MRPs
                              their
                                      of 16

                                          sample
                                                    percent             of

                                                                  Eckstein
                                                                                 the

                                                                                           and
                                                                                                        vary

                                                                                                        level
                                                                                                                 and
                                                                                                                  of
                                                                                                                          even

                                                                                                                        the
                                                                                                                                         to

                                                                                                                                minimum wage
                                                                                                                                                   change           sign

                                                                                                                                                                          One
                                                                                                                                                                                   with

                                                                                                                                                                                        recent
                                                                                                                                                                                              the



     Wolpin             1990          p     805            arrive            at    similar              minimum wage                      study               permits               LMW           to

     conclusions              using       a different                  model                            change           signs            following                     the          regime
                                                                                                        changes          of    the       isolated             firm           model            see
     5.6     Employment                   Effects          of     Minimum
                                                                                                        Section          2.2             Neumark                    and            Wascher




     impact                                                                                             monopsony
             Wages
                                                                                                         1994          estimate           competitive                    and

          A huge                                                                  the                             models                   the           labor          market                     a




     levels regime
                           literature            investigates                                                                       of                                                       in



     employment
             of    minimum
                         at   both
                                          wage            increases

                                          firm and aggregate
                                                                                  on                    switching

                                                                                                        US        state level
                                                                                                                              regression

                                                                                                                                              data
                                                                                                                                                             framework
                                                                                                                                                              The        competitive
                                                                                                                                                                                         using



            Early studies                  reviewed                by       C Brown                     model has two regimes                                 a nonbinding




                  regimes
     Curtis        Gilroy and Andrew                               Kohen               1982                       and     a labor demand curve                                      regime
     using        aggregate               US             data      through                 the          The       monopsony                    model               has        three




                  regime
     elasticities supplycurve
     1970s        generally            estimate                 negative                                               a nonbinding                      regime                a

                   of    employment                       of      teenagers                and                     regime             and           a demand curve

     sometimes             young          adults            with            respect             to                 see        Section              2.2        above             The          two
     the     minimum              wage              hereafter                    denoted                models          are     not        nested                  but       nonnested




     varied
     eMW Vof          about       0.1          to    0.3          Later           studies               tests      seem         to         favor              the         monopsony
     using       data      from the              1980s            are       more                        model          slightly            The               estimated                  switch

             Some             estimate              eMW           to        be     in      the         points          expressed               relative            to    the        average

     same        range           as       earlier           studies                 David              wage       for    workers               are       wc              0.35       for the

     Neumark               and    William                  Wascher                  1995                competitive             model               and        w               0.31          and
     others        estimate               EM w to               be          essentially                Wc         0.34         These                values              are         slightly




     positive
     zero     Alison          Wellington                  1991              while          still       greater          than     the           historic             low        values             of

     others estimate                  EM V to be small but                                             the      US federal minimum wage before                                                    it


             see      Card and Krueger                            1995                                 was increased                 in       1990 and 1991                         A note
       Unfortunately                      estimates                    of     FM1W are                 of    caution          the     regimeshifting                           structure




    Recall aggregate
     nearly       useless         for                          monopsony                     or        used by Neumark                        and Wascher                           elegant




              supply
                                           testing                                                                                                                             is


     measuring the rate                     of      exploitation                   E                   but      a bit    misleading                 when            applied             to




    collusive
            that        except        in the             isolated            firm
                                                                                  LMW
                                                                                                                        data     The           elasticity               of    their




                                                                                                       inferred
                   and          Cournot                   models                                is            curve       regime              is    not       the        elasticity               of




                                                                                                       reasons
     smaller        than        the       elasticity               of       supply           to        supply      to     any firm                  which           cannot              be




    minimum
    individual             firms          for       two reasons                     raised                         from aggregate                            data for the
    earlier         First         an      increase                 in       the                                  given        above            but       just       the       maximum
             wage          increases             the       wage             offered          by        value       of         LMW             Nevertheless                          flexible



    significant
    other        firms Second
             heterogeneity                  in
                                                    if     there

                                                    productivity
                                                                            is

                                                                                    across
                                                                                                       specification

                                                                                                       empirical
                                                                                                                                of

                                                                                                                          approach
                                                                                                                                          LMW
                                                                                                                                                   when
                                                                                                                                                        is    surely

                                                                                                                                                                   the
                                                                                                                                                                               the

                                                                                                                                                                             data
                                                                                                                                                                                         right

                                                                                                                                                                                         show
    workers         or firms some                        workers             are       likely          substantial             variation                 in        the        minimum




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     110                       Journal of Economic                                   Literature            Vol XXXV March 1997


     wage       as       in     the         US over the                      last          few         elastic          long run supply                               in     which              case

     decades              whether                 the         true        model                 is     monopsony                       depresses                   employment but
     competition               or some            form of monopsony                                    not wages                      See     Section              2.2     above

                                                                                                       sophisticated
                                                                                                           Under                 monopsony                     models                more



                                                                                                       isolated
                                                                                                                                      and
                                6      Conclusion                                                                                                arguably             more            realistic

                                                                                                       than      the         usual          textbook                model            of    an
           Monopsonistic                         exploitation                    arising                            firm the                effect            of    minimum wages
     from      supply           frictions              whether              modeled                    can     be           complicated                       On      the        one           hand



     Dynamic
     as    differentiation                  or        search         is     probably                   even       if    rates          of    exploitation                   are       small           on




     suggest
     widespread                but      small           on      average                                average               legal          minimum wages                             may           still


                studies           of        workers           and firms                                                                     some             wages          substantially




                                                                                                       market
                                                                                                       raise           at    least

             that        short run               inverse        elasticities                   of      without              reducing                   employment                         On        the

     supply     to       many firms are                       probably               large             other        hand even                     if     the       entire        labor

     However              long run                    inverse                                                           monopsonized                               minimum wages

     estimates
                                                                       elasticities                            is




     respect marginal
     are probably               no     higher           than previous                                  are     ineffective                   when             wage         dispersion                   is


                    of   the      elasticity            of    wages          with                      primarily                 due        to         heterogeneity                      in

               to    firm       size         about 0.03                or    0.04          At                     products                  rather            than       heterogeneity


     exploitation
                                                                                                       minimum
                                                                                                       sophisticated
     sensible        discount                rates         the       rate            of                in rates             of    exploitation                      Thus             under
                          is     likely           to     be      only            a    little                                          models                 the     effect           of

     higher         than        these             latter        values               Even                           wages              on     employment                     remains                  an


     monopsony monopsony
     studies        of    textbook               examples              of                              empirical                 question                    Conversely


     suggest
              such



     than about
     zero      Thus
                     rates
                          as



                          0.15
                                  nursing

                                  of




                               rates
                                       and
                                            exploitation



                                            of
                                                        and


                                                  sometimes

                                                  exploitation
                                                                  coal

                                                                       no
                                                                            as
                                                                                 mining
                                                                                 higher

                                                                                 low as
                                                                                 arising
                                                                                                       effect
                                                                                                       empirical

                                                                                                               of
                                                                                                                  models
                                                                                                                                 studies

                                                                                                                       minimum wages
                                                                                                                                        are

                                                                                                                                                  of
                                                                                                                                                       not     easily

                                                                                                                                                             the
                                                                                                                                                                             refuted

                                                                                                                                                                    employment
                                                                                                                                                                                                     by




                                                                                                          Issues
     from supply               frictions              are probably                   lower                                                  REFERENCES

     than     say union                 relative          wage            effects              or      ADAMACHE                  KILLARI               W     AND      SLOAN FRANK                      A
                      income                                                 by           US               Unions            and        Hospitals              Some        Unresolved

                                                                                                                                                                                     1 pp 81
     marginal                               tax rates faced
                                                                                                                       J Health Econ May 1982 1
     workers                                                                                              108



     from
          Monopsonistic

              explicit           collusion
                                             exploitation

                                                         is     probably
                                                                                 arising

                                                                                          rare
                                                                                                          Equilibrium
                                                                                                             W
                                                                                                       ALBRECHT              JAMES
                                                                                                                            Model           of
                                                                                                                                                       AND AXELL
                                                                                                                                                   Search
                                                                                                                                                                            Bo
                                                                                                                                                                    Unemployment
                                                                                                                                                                                          An
                                                                                                                                                                                                       J
                                                                                                              Econ Oct
                                                                                                          Polit                                 92 5 pp 824 40
                                                                                                                                              1984
     but    occasionally               large           Well documented                                 ARCHIBALD G C                       The Factor Gap and the Level
     cases     include            U S baseball                       before               the             of   Wages                  Econ  Record   Nov 1954 30 59




     however
     professional
     reserve        clause        and perhaps                   other                                     pp 187 99
                                                                                                       ATKINSON              SCOTT           E STANLEY                     LINDA           R        AND
               sports            Even            in    these       cases
                                                                                                          TSCHIRHART                    JOHN                 Revenue        Sharing            As      an


     exploitation
             the     best

                         reported
                                 estimates

                                                 to
                                                        of the

                                                       date      are
                                                                       rate of

                                                                          probably
                                                                                                          Incentive



                                                                                                          Econ Spring 1988 19
                                                                                                                                 in


                                                                                                          from the National Football
                                                                                                                                              An Example
                                                                                                                                      an Agency
                                                                                                                                       League RAND J
                                                                                                                                     pp 27 43              1
                                                                                                                                                               Problem



     not    very accurate                                                                              BAIN      JOE        S         Relation          of   Profit      Rate        to    Industry




     behavior
       Monopsonistic                         exploitation                        arising                  Concentration                  American              Manufacturing                   1936

     from    tacitly           collusive              or Cournot                                          1940 Quart J Econ Aug 1951 65 3 pp
                                                                                                         293 324
            may                                                                                                                   M
     existing
                     exist        in        some        professions                   with
                                                                                                       BECK PAUL                            Monopsony               in     the       Market          for

              numbers

                                                                                                          Employment
     small                        of        employers                but         the                      Public        School          Teachers             in    Missouri           The      Static

                                                                                                          and Dynamic                  Impact           On        Salaries      and
               evidence                is    inconclusive                     Studies
                                                                                                            D   U           Ph              Dissertation                        of        Missouri
     comparing            employer                    concentration                       and
                                                                                                          1993


     sufficient
     negative
     pay    most often

              controls
                                  find

                                  are
                                                 no

                                             included
                                                       effect      when
                                                                     This
                                                                                                       BECKER
                                                                                                          Paid
                                                                                                                        GARY           S
                                                                                                                          Worth Business Week
                                                                                                                       What
                                                                                                        Sept 30 1985 No 2914 p 18
                                                                                                                                  They
                                                                                                                                                 College

                                                                                                                                                 Are
                                                                                                                                                                  Athletes        Should            Get



            result       suggests            an absence                of     market                  VAN DEN BERG GERARI J AND RID DER GEERT
     power      but       it    could            also    reflect          perfectly                        An Empirical                 Equilibrium                Search        Model         of   the




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                                         Boal and              Ransom Monopsony                                  in the Labor                Market                                    111




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                                                                                                                              1987 pp 48 89

                                                                                                             Estimating
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                                                                                                             Overqualification
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                                                                                                                    Monopsony
                                                                                                                              The Employer Size Wage Effect
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                                                                                                                                Wage
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                                                                                                             Oligopsony
                                                                                                                             Registered    and Practical
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                                                                                                                                Market       for                                    Econ
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                                                                                                             CHRISTOPHER
                                                                                                             Relation
                                                                                                                  M
                                                                                                          IOANNIDES
                                                                                                               A
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                                         and Employer                                                        Exploitation
                                                                                                              The     World
                                                                                                                          the
                                                                                                                                  Hockey
                                                                                                                              National Hockey
                                                                                                                                                 Association

                                                                                                                                              League
                                                                                                                                                                      and    Player



                                                                                                                                                                                        2
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       Size Northwestern   Center    for Mathematical                                                        Quart Rev Econ Bus Summer 1987 27
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        Balanced             Matching          and Labor            Market                                   Empirical Equilibrium Search                           Model in Panel
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     CALVO       GUILLERMO                   A     AND       WELLISZ                                         WESTERGlARD NIELSEN Amsterdam       North

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                  5
                    Hierarchy

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                                                            and     Income

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                                                                                                                                                                            Eds KEVIN
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                                                                                                             Professional
                                                                                                                    Structure          Nonpecuniary

                                                                                                                                     Nurses J Econ
                                                                                                                                                                Factors       and



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       1973                                                                                                                 Salaries         Registered
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                                                                                                                                 in
                                                                                                                                      ROBERT
                                                                                                                                       the       Labor        Market        for     Public

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                                                                                                                39 4 pp 573 84

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